Case 6:19-bi<-00531-KS.] Doc 1-1 Filed 01/28/19 Page 1 of 50

Fill in this information to identify your case:

United States Eiankrupicy Court for the:

M|DDLE D|STRICT OF FLORIDA, ORLANDO D|V|S|ON

 

Case number(rri<newni Chapter you are fiting undor:
- Chapter 7
l:i Chapler 11
|:| Chapter 12

i:l Chapter 13 l:] Chei:k ifthis an amended
filing

 

 

 

Officiai Form 101
Vo|untary Petition for individuals Filing for Bankruptcy izm

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing aione. A married couple may file a bankruptcy case together-called ajoilnt
case-and in joint cases, these forms use you to ask for information from both debtors. For exampie, if a form asks, “Do you own a car," the answer
would be yes if either debtor owns a car. When information ls needed about the spouses separateiy, the form uses Debtor 1 and Debtor 2 to distinguish
between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct information. if more
space is needed, attach a separate sheet to this form. Dn the top of any additional pages, write your name and case number (if known). Answer every
question.

-ldentify Yourseif

About Debtor 1: About Debtor 2 tSpouse Oniy in a Joint Case):
1. Your full name

Write the name that is on Michael

YFUF QD\_FEfl"'_“€"t'_'SSUEd First name First name
picture identification (for

exampie, your driver's

license or passport). Midd|e name ' Middie name

 

 

Bring your picture
identification to your meeting
with the t'rustee.

irizarry
i_ast name and Suffix (Sr., Jr., |i, iii) Last name and Sul‘tix (Sr., Jr., li, iii)

 

 

2. Aii other names you have
used in the last 8 years

include your married or
maiden names.

 

3. Oniy the last 4 digits of
your Sociai Security
number or federal xxx_xx_2355
individual Taxpayer
identification number
(iTiN)

 

Off'iciai Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 1

 

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Debtor1 lrizarry, Michael

4. Any business names and
Empioyer identification
Numbers lElNi you have
used iri the last B years

include trade names and
doing business as names

About Debtor 1:

l l have not used any business name or Ele.

Case number(irimown,)

About Debtor 2 lSpouse Only in a Joint Case):

U l have not used any business name or Ele.

 

Business name(s)

Business name[s)

 

E|NS

Ele

 

5. Where you live

441 Acacia Tree Way
Kissimmee, FL 34758-3683
Number, Street. City. State & ZlP Code

Osceoia
County

if your mailing address is different from the one
abovel fill it in here. Note that the court will send any
notices to you at this mailing address

|f Debtor 2 lives at a different address:

Number, Street. City, State & ZlP Code

Cciunty

if Debtor 2's mailing address is different from yours, fill it in
here. Note that the court will send any notices to this mailing
address.

 

Number, F'.Ci. Box. Streei. City. State & Z|F' Code

Number, P.O. Box, Street, City, State & ZlP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Ch eck one.'

Over the last 180 days before ming this petition, l
have lived in this district longer than in any other
district

i have another reason.
Explain. (See 23 U.S.C. § 1408.)

Check one.'

|:i Over the last 130 days before filing this petition, i have
lived in this district longer than in any other district

i:i i have another reason.
Expiain. (see 28 u_s.c.§ 1403.)

 

 

Cift'iciai Form 101

Vo|untary Petit.ion for individuals Filing for Eanirruptcy page 2

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Debtor1 lrizarry, liiiichael

Case numberiirknown)

Tel| the Court About Your Bankruptcy Case

 

'i’. The chapter of the Check one. (For a brief description of each, see Nofi`ce Requi`red by 11 U,S.C, § 342(£)} for individuals Filing for Bankru,utcy (Form
Banirruptcy Code you are 2010)). Also, go to the top of page 1 and check the appropriate box.

choosing to file under

- Chapter 7

l:l Chaptertl
|:l Chapter12
|:l Chapter13

 

B. How you will pay the fee l l will pay the entire fee when l file my petition Piease check with the clerk’s office in your local court for more details
about how you may pay. Typicaiiyl if you are paying the fee yourself, you may pay with cashl cashier’s checi<, or money order.
if your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
pre-printed address

l:l l need to pay the fee in installments if you choose this option, sign and attach the Appii'caii'on for individuals to Pay The
Filing Fee in installments (Ofticiel Form 103A).

|:\ l request that my fee be waived (You may request this option only if you are filing for Chapter 'i‘. By law, a judge may, but is
not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
your family size and you are unable to pay the fee in installments). if you choose this option, you must till out the A,opli`caffon
to Have the Chapter 7 Filing Fee Wai`ved {Oflicial Form 1038) and file it with your petition.

 

9. Have you filed for l NO
bankruptcy within the last

B years? l:l ‘(es.

Middile District of
Fiorida Or|ando

 

 

 

 

District Division When Case number 5:13-bK-03159-K3J
District When Case number
District When Case number
10. Are any bankruptcy cases - NO
pending or being filed by
a spouse who is not filing l:l \'es.
this case with you, or by
a business partner, or by
an affiliate?
Debtor Relationship to you
District When Case numberl if known
Debtor Relationship to you
District When Case number, if known
11. Do you rentyour - No Go to line 12.
residence? '

I:i ‘(es.

|-ias your landlord obtained an eviction judgment against you?

Ei
|:I

No. Go to line 12.

Yes. Fill outinfi‘i'ai Si‘afement Abouf an Evi'cfi'on Judgrrienf Agar'nsf You (Form 101A) and tile it as part of this
bankruptcy petition.

 

Ofiicial Form 101

Vo|untary Petition for individuals Filing for Bankruptcy h page 3

 

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Debtori irizarry, liliichael

Case number(irimowni

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor
of any fu|i- or part-time
business?

A sole proprietorship is a
business you operate as an
individuai, and is not a
separate legal entity such as
a corporation partnership,
or LLC.

if you have more than one
sole proprietorship use a
separate sheet and attach it
to this petition

l No. Go to Part 4.

[:] yes_ Name and location of business

 

Name of business, if any

 

Number, Street, City. State 81 ZlP Code

Check the appropriate box to describe your business:

Heaith Care Business (as defined in 11 U.S.C. § 101(2?A))
SingleAsset Reai Estate (as defined in 11 U.S.C. § 101(515))
Stockbroker las defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

ij|jijl:`il:l

 

13. Are you filing under
Chapter 11 of the
Bankruptcy Code and are
you a small business
debtor?

For a dennition of small
business debror, see 11
U.S.C.§101(51D).

if you are filing under Chapler 1 1, the court must know whether you are a small business debtor so that i't can set appropriate
deadlines if you indicate that you are a small business debtor, you must attach your most recent balance sheet statement of
operations, cash-flow statement and federal income tax return or if any of these documents do not exist, follow the procedure in 11
U.S.C.1116(1}(B).

- No. | am not filing under Chapter 11.

i:| No_ l am hiing under Chapter 1 1, but l am NOT a small business debtor according to the definition in the Bankruptcy
Code.

|;| Yes_ l am filing under Chapter 11 and l am a small business debtor according to the definition in the Bankruptcy Code.

 

Report if ‘i'ou Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any
property that poses or is

- No.

alleged to pose a threat of \:l Yes.

imminent and identifiable
hazard to public health or
safety? Or do you own
any property that needs
immediate attention?

For example do you own
penshabie goods or
livestock that must be fed,
or a building that needs
urgent repairs ?

V\ihat is the hazard?

 

if immediate attention is
needed, why is it needed?

 

Where is the property?

 

Number, Street. City. Siate & Zip Code

 

thcla| Form 101

Vo|untary Petition for individuals Filing for Bankruptcy page4

 

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Debtor1 lrizarry, Michael

m Explain Your Efforts to Receive a Eriefing About Credit Counseiing

15. Teii the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before you
file for bankruptcy. You
must truthfully check one of
the following choices. if you
cannot do so, you are not
eligible to file.

if you file anyway the court
can dismiss your case, you
will lose whatever filing fee
you paidl and your creditors
can begin collection
activities again

About Debtor 1:
You must check one.'

i:.i

l received a briefing from an approved credit [l
counseling agency within the 130 days before l

filed this bankruptcy petition, and l received a

certificate of completion.

Attach a copy of the certificate and the payment plan,
if any that you developed with the agency.

l received a briefing from an approved credit ij
counseling agency within the 180 days beforel

filed this bankruptcy petition. but| do not have a
certificate of completion.

Withirr 14 days after you file this bankruptcy petition,
you NiUST file a copy of the certificate and payment
pian. if any

l certify that | asked for credit counseling I:|
services from an approved agency, but was

unable to obtain those services during the 'i'

days after l made my request, and exigent

circumstances merita 30-day temporary waiver

of the requirement

To ask for a 30»day temporary waiver of the
requirement attach a separate sheet explaining what
efforts you made to obtain the briehng. why you were
unable to obtain it before you filed for bankruptcyl and
what exigent circumstances required you to file this
case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you fi|e.
You must file a certificate from the approved agencyl
along with a copy of the payment plan you developed,
if anyl if you do not do so, your case may be
dismissed

Any extension of the 30-day deadline is granted only

for cause and is limited to a maximum of 15 days.

l am not required to receive a briefing about E]
credit counseling because of:

|:| lncapacity.
l have a mental illness or a mental deficiency
that makes me incapable of realizing or making
rational decisions about nnances.

|:i Disabi|ity.
My physical disability causes me to tie unable
to participate in a briefing in person, by phone,
or through the internet] even after l reasonably
tried to do so.

|:| Active duty.
l am currently on active military duty in a
military combat zone

if you believe you are not required to receive a briefing
about credit counseling you must file a motion for
waiver credit counseling with the court.

Case numberriri<nown)

About Debtor 2 lSpouse Oniy in a Joint Case):
‘i’ou must check one.'

l received a briefing from an approved credit
counseling agency within the 180 days before l filed
this bankruptcy petition, and l received a certificate of
completion.

Attach a copy of the certificate and the payment plan4 if any,
that you developed with the agency

l received a briefing from an approved credit
counseling agency within the 180 days before l filed
this bankruptcy petition, but| do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if any

l certify that l asked for credit counseling services
from an approved agency. but was unable to obtain
those services during the 7 days after l made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement

To ask for a 30-day temporary waiver of the requirement
attach a separate sheet explaining what efforts you made to
obtain the briehng, why you were unable to obtain it before
you filed for bankruptcy and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is dissatisfied with
your reasons for not receiving a briefing before you filed for
bankruptcy

if the court is salished with your reasons, you must still
receive a briefing within 30 days after you file. You must file
a certificate from the approved agencyl along with a copy of
the payment plan you developed, if any if you do not do so,
your case may be dismissed

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of15 days.

l am not required to receive a briefing about credit
counseling because of:

|:] incapacity
l have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances

I:i Disabi|ity.
Niy physical disability causes mefc be unable to
participate in a briefing in person, by phone. or through
the internet, even after l reasonably)tried to do so.

l:i Active duty.
l am currently on active military duty in a military
combat zone.

if you believe you are not required to receive a briefing about
credit counseling, you must file a motion for waiver of credit
counseling with the court.

 

Of'i'lcial Form 101

Vo|untary Petition for individuals Filing for Bankruptcy

page 5

 

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Debtor1 irizarry, Mici'lae|

Case numbernri<nown,l

Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

16a Are your debts primarily consumer debts? Consumer debts are denned in 11 U.S.C.§ 101 (B) as “incurred by an
individual primarily for a personal, family, or household purpose."

El No. co to line lab

l Yes. Go to line 1'f.

16b. Are your debts primarily business debts? Busr`ness debts are debts that you incurred to obtain money
for a business or investment or through the operation of the business or investment

i:i No. Go to line 16c.
l:l Yes. Go to line ii'.
160 State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and

|:] ND_ | am notf“iling under Chapter`l'. Go to line 18.

l YES | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
' paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses - NO
are paid that funds will be
available for distribution i:l yes
to unsecured creditors?
18. How many Creditors do . 1_49 |:| 1,00[)_5![)00 |:| 25`0[)1_50,00¢]
Y°“ estimate that y°" ij 50_99 El 5001-10,000 Ei 50,001-100,000
owe?
ij 100_199 El 10,001-25,000 El More inani oo,ooo
i:i 200-999
19- HOW much do you i:\ $0 - 550,000 i:i $1,000.001 - $10 million |:i $500.000.001 - $1 billion

estimate your assets to

be worth?

El $50,001 - sioo,boo

l sioo,oui -$500.000
l;l 5500,001 ~ $i million

iii $10,000,001 ~ $50 miliion
El ssc.ooo,dol - sioo million
El $100.000,001 - 5500 million

|:i $1.000,000,[]01 - $10 billion
El $10.000,000,001 - 550 billion
l:l More than $50 billion

 

20. How much do you

l:i $0 - $50,000

estimate your liabilities to g 550 001 _ $100 000

be?

l $100.001 - $500,000
l;i sectioch - si million

tIl $1,000,001 - s1 0 million

El $10,000.001 - $50 million
El $50.000,001 - $100 million
ij $100,000.001 - $500 million

lZl 5500,000\001 - $1 billion

lIl 51.000,000,001 - sic billion
|Il 510.000,000,001 - 350 billion
El More than $5u billion

 

mign Below

 

For you

l have examined this petition. and l declare under penalty of perjury that the information provided is true and correct

if | have chosen to file under Chapter 7, l am aware that l may proceed, if eligib|e, under Chapter 'r', 11,12, or 13 of title 11, United
States Code | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out this documentl |
have obtained and read the notice required by 11 UiS.C. § 342(b].

l request relief in accordance with the chapter of title 11, United States Code. specined in this petition.

l understand making a false statement. concealing property or obtaining money or property by fraud in connection with a bankruptcy
case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

lsi Michael irizarry
Michae| irizarry
Sigriature of Debior 1

Executed on January 28, 2019

Signature of Debtor 2

Executed on

 

MM i' DD l' YYYY

 

MMi'DD/YYYY

 

Offrcia| Form 101

Vo|untary Petition for individuals Filing for Bankruptcy

page 6

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Debtor1 lrizarry, Michae|

Case numberp'rknown;

 

For your attorney, if you are
represented by one

|f you are not represented by
an attorneyl you do not need
to file thls page.

|, the attorney for the debtor(s) named in this petition. declare that | have informed the debtor(s] about eligibility to proceed under

Chapter 7. 11, 12. or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
person is eligible | also certify that l have delivered to the debtor{s} the notice required by 11 U.S.C. § 342(b) and, in a case in
which § 707{|:>)(4)(0) applies. certify that l have no knowledge after an inquiry that the information in the schedules filed with the

petition is incorrect

lsi F|avio A|varez Date

 

Signalure of Attorney for Debtor

Flavio Alvarez

January 28, 2019
|V|M IDD )'Y‘(YY

 

Pnnted name

Law Office of F|avio E. A|varez

Flnn name

911 N Main St Ste 8

Kissimrnee, FL 34744-4520
Number, Slreet` City, State 8. Z|P Code

contact phone {407} 870-0015 Email address

39160

Bar number & State

 

alvarez|awB@gmai|.com

 

 

Ochia| Form 101

Vo|untary Petition for lndlvldua|s F||lng for Bankruptcy

page 7

 

Case 6:19-bi<-00531-KS.] Doc 1-1 Filed 01/28/19 Page 8 of 50

Fill in this information to identify your case and this filing:
Debior 1 Michael irizarry
First Name Midd!e Name Last Name

Debtor 2
{Spouse. if nlrng) FlrsiName Midd|e Name Last Name

 

United States Bankruptcy Court for the: NilDDLE D|STR|CT OF FLOR|DA, ORLANDO DlV|S|ON

 

Case number l:] Check iithis is an
amended iiling

 

Official Form 106A/B
Schedule AIB: Property ms

|n each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible lftwo married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this forrn. On the top of any additional pages, write your name and case number {if known].
Answer every question.

 

oescrlbe Each Reslrlerrce. euildlng, Land, or other neal Estate You own or l-lave an interest ln
1, Do you an or have any legal or equitable interest in any residence, building, land, or similar property?

i;i No. on to Part 2\
- ¥es. Where is the property?

 

 

 

 

 

1.1 What is the property? Check all that apply
- Single-femi|y home Do not deduct secured claims or exemptions Put
441 Acacla Tree Way Dup|ex m multi_unit bunde the amount or any secured claims orr schedule D.-
Slreet address il availablel orolherdescription U _ _ _ Credlior$ W;"FO HBV€ Clajms S€CW€d by Pmp@”y-
n Condomlnlum or cooperative
I:l Manufaclured or mobile home
_ _ Current value of the Current value of the
KlSSlmlTIGB FL 34758-3683 |:] Lélnd entire property? portion you own?
Cny Stare ZlP Code I] investment properly $198,000.00 $193,000.00
i:l T' ha
|mes fe Descrlbe the nature of your ownership interest
L_'| Othe" _ [such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estateir if |“"°W"-
- Debtor 1 only Fee Sil'i‘l|'.\l€
m Deb10r 2 only
County
m Damor 1 and Debwr 2 On|y m Check if this' ls community property
m At least one ofthe debtors and another (Se€ lnSiNCinnSl

Cither information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Par|'. 1, including any entries for pages
you have attached for Part 1_ Write that number here.. .... ..=> 31981000'00

 

 

 

Part 2: Describe Your Vehicles

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives if you lease a vehiclel also report it on Scheduie G.' Executory Contracts and Unexpired l_eases.

thciai Form 106A/B Schedule AIB: Property page 1
Sotlwere Copyn'ght {c] 2019 C|NGroup - www.clncompass corn

Case 6:19-bl<-00531-KS.] Doc 1-1 Filed 01/28/19 Page 9 of 50

Debtor1 lrizarry, Michae|

3. Cars, vans, trucks, tractors sport utility vehicles, motorcycles

|:i Ncl
. Yes

s1 Mal<a; |nfiniti
Mode|: 635
Year: 2004

Approxi mate mileage TDOOO

Other information:

 

ViN: JNKCV56E74M805265

 

 

 

Who has an interest in the property? check cna

l Debtor 1 only

n Debtor 2 only

i:] Debtor 1 and Debtor 2 only

l:| At least one Otthe debtors and another

l:i Check ifthis is community property
(see lnstructlons]

Case number(if known)

Do not deduct secured claims or exemptions Put
the amount ot any secured claims on Scheduie D.'
Creo‘itors Who Have Cfal'ms Secured by Property.

Current value ofthe
portion you own'?

Current value ofthe
entire property?

$6,000.00

$6,000.00

 

 

3.2 Mal<e; Toyota
lvlo<lel; 4Runner 2WD
Year: 2004

Approximate mileage: 280000

Otncr information:

 

Vl'N: JTEZU‘|4R740018409

 

 

 

Who has an interest in the property? Chaci< one

. Debtor 1 only

i:l Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one ofthe debtors and another

L_.l Check if this is community property
isee instn.:ctlons)

Do not deduct secured claims or exemptions Pui
the amount of any secured cia?ms on Scheduie D.'
Credi'iors Who Have Clal'ms Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$3,000.00

$3,000.00

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Exampies.' Boats, trailersl motors personal watercraftl fishing vesselsl snowmobiles. motorcycle accessories

L_.i No
l Yes

4.1 uake: Seadoo

Model: Jetski
¥earl 2006

Other information:

 

lD NO. YDV51980D606

 

 

 

Who has arl interestin the property? Cneck one

- Debtor 1 only

[:] Debtor 2 only
i:i Debtor 1 and Debtor 2 only
i:i At least one of the debtors and another

i:i Check if this is community property
(see instn.lctions]

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D.'
Crediiors Who Have Ciar'ms Secured by Properry.

Currerlt value of the
portion you own?

Current value of the
entire property?

$400.00 $400.00

 

4_2 Malte: Seadoo

lvlo<lel: Jetski

 

 

 

 

Who has an interest in the property? Cneck one

- Debtor 1 only

Do not deduct secured claims or exemptions Pui
the amount of any secured claims on Scheo‘ul'e D.'
Cred'l'tors Who Have Cial'ms Secured by Property.

 

 

Year: 2006 m Debif"' 2 Gn|i" current value ofthe Current value ofthe
El Debtor1 and oebtor 2 only entire properry? rwrtlon you ¢wn?
Clther information: i:l At least one or the debtors and another
' D Check ifthis is communi ro e $0.00 $0.00
lD No. YDV§BZ[MESO$ isee instructlons) tv p p ny
5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
.you have attached for Part 2. Write that number here.. => $91400'00

 

Describe Your Persona| and Household items
Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings

E)rampies: Major appliances furniture, |inens. china. kitchenware

i:i No
- Yes Describe,....

Otticial Form 106A!B

Software Copyn'ghi (c}2019 C.iNGroup - www\cincompesscom

Schedule A/Ei: Property

 

 

 

 

 

Current value of the
portion you own?
Dcl not deduct secured
claims or exemptions

Pag€ 2

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Debtor 1 |rizarryr Michae! Case number(r'fknown)
l Master Bedroom: Bed, 2 night stands, Dresser l $200.00
[Second Bedroom: Bed, mirror, Dresser l $150.00
l Third Bedroom: Bed, 2 night tables l $150.00
lFounh Bedroom: Desk | $50.00
[Famiiy: couch | 3150.00
loinning Room: Taiiie with six chairs | 5200.00

 

 

7. E|ectronics
Examp.'es: Te|evisions and radios; audio. videol stereo, and digital equipment computers, printers, scanners; music collections; electronic devices
including cell phones. cameras, media players, games

- No
U Yes. Describe.....

8. Col|ei:tib|es of value
Examples.' Antiques and figurines; paintings. prints, or other artwork; books, pictures. or other art objects; stamp, coin. or baseball card coilections; other
collectionsl memorabilia, ool|ectib|es

- No
|:| Yes. Describe..,..

9. Equipment for sports and hobbies
Examples: Sports, photographicl exercisel and other hobby equipment; bicycles. pool tables, golf clubs, skis; canoes and kayaks; carpentry too|s; musical
instruments

l No
[] Yes, Describe.,...

10. Firearms
E)<ampies.' Pisto|s. riiles, shotguns, ammunition, and related equipment

l No
|:l Yes. Descn'be .....
11. C|othes

Exampies: Everyday clothes. furs, feather coats, designer wear. shoes, accessories
|:l No

- Yes. Describe .....

 

[ clothes l $150.00

 

12. Jewe|ry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings. heir|oom jewelry, watches, gems, gold. silver
l No
[] Yes. Describe .....

134 Non-farm animals
Exampies: Dogs, cats, birds, horses

l Nci
l:l Yes‘ Describe .....

14. Any other personal and household items you did not already list, including any health aids you did not list
l No
|;l Yes. Give specific information .....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
Part 3. Write that number here .............................................................................. $1 1950-00

 

 

 

m Dascrlbe Your Flnanclal Assets

 

Officia| Form 1OEAIB Schedule AIB: Property page 3

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Debtor 1 |rizarry, Michael Case number(irknnwn)

Do you own or have any legal or equitable interest in any of the foilowin|? Current value of the
portion you'own?
Do not deduct secured
ciaims or exemptions

16. Cash

Exam,oles: Money you have in your wallet in your home, in a safe deposit box, and on hand when you file your petition
- No
l:l Yes .............................................

17. Deposlts of money
Exampies: Checi<ing, savings. or other financial accounts; certificates of deposit; shares in credit unions. brokerage houses, and other similar
institutions if you have multiple accounts with the same institution, list each.
l:i No
l yes ________________________ institution name:

17.1. Checklng Account Partners Federa| Credit Union $85.00

 

 

15. Bonds, mutual funds, or publicly traded stocks
Exampies: Bond funds, investment accounts with brokerage firms, money market accounts

- No
i:l Yes __________________ institution or issuer name:

19. dion-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

-No

Ei Yes. Give specihc information about them ...................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negoti`abie lnstnrments are those you cannot transfer to someone by signing or delivering them.

l No
|:i Yes. Give specific information about them
issuer name:

21. Retirernent or pension accounts
Exsm,cies: interests in iRA, ER|SA. Keogh. 401(|<), 403[b). thrift savings accounts. or other pension or profit-sharing plans

-No

l:| Yes. Lisi each account separately
Type of account institution name:

22, Security deposits and prepayments
Your share of ali unused deposits you have made so that you may continue service or use from a company
Exampies.' Agreements with landlords prepaid rent. public utilities (eiectric. gas, water)l telecommunications companies, or others

l No
|:l Yes. institution name or individuai:

23. Annuities tA contract for a periodic payment of money to you, either for life or for a number of years)
l No
|'_'l Yes ,,,,,,,,,,,,, issuer name and description

24. interests in an education lFtA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(|3)(1).

- No
|;i yes________u__, institution name and description Separateiy file the records of any interests.11 U.S.C. § 521{c):

25. Trusts, equitable or future interests in property (other than anything listed in line 'i), and rights or powers exercisable for your benefit
. No
l:] Yes. Give specific information about them...

26. Patentsr copyrights, trademarks, trade secrets. and other intellectual property
Exampies: internet domain names, websites. proceeds from royalties and licensing agreements

. No
Officia| Form 106A)'B Scheduie AIB: Property page4
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Debtof 1 lrizarry, Michael Case number(ifknown)
l:l Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Exampies' Buiiding permits, exclusive |icenses. cooperative association hoidings. liquor |icenses\ professional licenses

- No
l:l Yes. Give specihc information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptionsl

28. Tax refunds owed to you
l No

|'_`l Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Exampies.' Past due or lump sum aiimony, spousal support, child support maintenance, divorce settlementl property settlement

-No

ij Yes. Give specific information..,...

304 Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Sociai Security beneiits;
unpaid loans you made to someone else

l No
l;l Yes. Give specific information..

31. interests in insurance policies
Examples: Heaith, disability, or life insurance; health savings account (H SA); credit. homeowner’s, or renter's insurance

-No

l;l Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive property because someone has
died.

.No

l:l ‘(es. Give specific information..

33. Ciaims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examp.'es: Accidents, employment disputes, insurance claims, or rights to sue

- No
l;l \"es. Describe each claim .........

34. Other contingent and unliquidated claims of every nature, lncluding counterclaims of the debtor and rights to setoff claims
l No

l:l Yes. Descn`be each claim .........

35. Any financial assets you did not already list
- No
m Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
Part 4. write that number here ..................................................................................................................... 335-00

 

 

 

Describe Any Business-Rslated Froperty You Own or Havl an interest ln. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related proparty?
- No. Go to Pan 6.
m Yes. Go to line 3Ei.

Otticiai Form 106NB Scheduie AIB: Property page 5

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Debtor1 lrizarryl Michael Case number(if known)

Part 6: Dsscribe Any Farm- and Commarclal Fishlng-Related Property Vou Own or Have an interest |n.
lf you own or have an interest in farmland. list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
l No. soto Part 7.
m Yes. Go to line 47`

Part 7: Describe All Property ‘{ou Own or Have an interest in That You Did Not List Above

53. Do you have other property of any kind you did not already |ist?
Examp!esr Season tickets, country club membership

-No

l:l Yes. Give specific information .........

 

54. Add the dollar value of all of your entries from Part 1.Write that number here .................................... $O_DO

 

 

 

usc the Totafs of Each part orthls Form

55. Fart 1: Tota| real estate, line 2 $198:000.00

56. Part 2: Total vehicles, line 5 $9,400,00
57. Part 3: Totai personal and household iterns, line 15 $1 050_00
58. Part 4: Total financial assets, llne 36 $85_00
59. Part 5: Totat business-related property, line 45 $0,0{]
60. Part 6: Total farm- and fishing-related property, line 52 $0,00
61 . Part 7: Total other property not iisted, line 54 + $0,00

62. Tota| personal property. Add lines 55 through 61 $10!535.00 COP¥ DEVSC"'|H| property tOi~il| $10:535.00

 

63. Tota| of all property on Schedule Ai'B. Add line 55 + line 62 $208,535_00

 

 

 

Ofiicial Form 106NB Schedule AIB: Property page 6

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Fill in this information to identify your case:
Debtor 1 Michael irizarry
Flrst Name Middle Name Last Name

Debior 2
(Spouse it nling) First Name Miodle Name Last Name

 

United States Bankruptcy Court for the: M|DDLE DlSTR|CT OF FLOR|DA. ORLAN DO D|VlSlON

Case number
rirknowni |:l Check ifthis is an

amended filing

 

 

 

Ofricial Form 1060
Schedule C: The Property You Claim as Exempi: ms

Be as complete and accurate as possible lf two married people are filing together. both are equally responsible for supplying correct information Using the
property you listed on Schedule A/B: Properfy(Offrcial Form 106AIB} as your source, list the property that you claim as exempt lf more space is needed, fill
out and attach to this page as many copies of Part 2.' Ado‘itionai Page as necessary On the top of any additional pages. write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Altematively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory llmit. Some exemptions-such as those for health aids, rights to receive certain benefits and tax-exempt retirement
funds-may be unlimited in dollar amount However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption wouid be limited to the
applicable statutory amount

identify the Property You Ctaim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing With you
- You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3]
l:l You are claiming federal exemptions 11 U.S.C. § 522(b)[2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

Erief description of the property and line on Current value of the Amount of the exemption you claim Sper:ific laws that allow exemption
Schedure Athhat lists this property portion you own
Copy the va!ue from Check oniy_one box for each exemption
Schadr.rle A/B
635 ' ' '
2004 n 100% of fair market valuel up to
70000 any applicable statutory limit

Line from Schedule A/E 3.1

 

 

 

 

 

 

 

 

'"fi“i“ ss 000 00 l $1 000 00 F*a- S‘at~ § 222-2511)
635 ' ' ' `
2004 m 100% of fair market value. up to
70000 any applicable statutory limit
Line from Scnedure A/Ef. 3.1
Master Bedroom: Bed, 2 night $200 00 l $200_00 Fla. Const. Art X, § 4(a)t2)
stands, Dresser '
Line from Schedure A/.Er. 6.1 n 100% of fair market value. up to
any applicable statutory limit
Second Bedroom: Bed, mirror, 5150 00 - $150 00 Fla. Const. Art X, § 4(a)(2)
Dresser ' '
Line from Scheduie A/El: 6.2 m 100% of fair market value, up lo
any applicable statutory limit
Third Bedroom: Bed, 2 night tables $150_00 - $150_00 F|a. Const. Art X. § 4(a)(2)

Line from Schedure A/B: 6.3
m 100% offair market value, up to
any applicable statutory limit

 

Dfncial Form 1060 Schedule C.' The Property ‘r'ou Clalm as Exempt page 1 of 2

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Brief description of the property and line'on Current vaiue of the Amount of the exemption you claim Spocitic laws that allow exemption
Scheduie A»"B that lists this property portion you own -

Copy the '\.alue from Chsck only one box for each exemption

SchedulaA/B
Fourth Bedroom: Desk $50_00 - $50_00 Fla. Const. Art X, § 4(a)(2}

 

Line from Scheo'uie A/E 6.4
m 100% of fair market value, up to
any applicable statutory limit

 

 

 

 

 

 

 

 

 

F-al"l`li|y: COLICh $150_00 - $150'00 Fla. Const. Art x, § 4(3)(2)
Line from Scheo‘ule A/B. 6.5
m 100% of fair market value up to
any applicable statutory limit
Dirrning Room: Tab|e with Six Chairs 5200_00 - $150_00 Fla. Const. Art X, § 4(a)(2)
Line from Scheo'uie A.#Et 6.6
m 100% of fair market value, up to
any applicable statutory limit
ClOth€S $15000 - $15000 Fla. Const. Art X, § 4(3)(2}
Line from Schedule A/B. 11.1
E_ 100% affair market value. up to
any applicable statutory limit
Eadners Federa| Credit Union $35_00 - 585_00 F|a. Stat. § 222.‘11(2)(a)
Line from Scheciuie A/B“. 17.1
|:] 100% of fair market value, up to
any applicable statutory limit
3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4i01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
- No
|:l Yes. Did you acquire the property covered by the exemption within 1215 days before you filed this case?
l:l No
|:l Yes
Ol"licial Form 1060 Schedule C: The Property You Claim as Exempt page 2 of 2

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Case 6:19-bl<-OO531-KS.] Doc 1-1 Filed 01/28/19 Page 16 of 50

Fill in this information to identify your case:
Debtor 1

llliichae| irizarry

Firsi Name Middle Name Last Name

Debtor 2
(Spouse l`f` li|ingl

 

Firsi Name Middle Name Last Name

lv‘llDDLE D|STRlCT OF FLOR|DA, ORLANDO DlV|S|ON

United Stales Bankruptcy Court for the:

 

Case number
(il known)

 

l:] Check ilthis is an
amended liling

 

 

Ofticia| Form 106D

Schedule D: Credltors Who Have claims Secured by Property 12115

 

Be as complete and accurate as possiblel lftwo married people are filing together, both ara equally responsible for supplying correct lnformation. if more space is
needed, copy the Aclditional Page, fill it out, number the sntrles, and attach it to this form. On the top of any additional pages. write your name and case number [if
known).

1. Do any creditors have claims secured by your property?
l:l No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

l Yes. Fill in all of the information below.

List Al| Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. Llsrall secured claimsv li a creditor has more man one secured claim, list the ciediior sepaiaiely Cm”m” A C°J“m" 5 C°f”m" c
for each daim. |f more than one creditor has a particular claim` list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possib|e, list the claims irl alphabetical order according to the creditor ‘s name Do not deduct the that supports this portion
value ol collateral claim ll' any
2.1 FC| Lender Services, |nc. Des¢=rlbe the property that assures the elaim= $71,704.62 $198,000.00 $71,704.62
C'°”“°"S Name 441 Acacia Tree Way, Kissimmee,
FL 34758-3683
As of the date ou file, the claim is: Ch k ll iii l
Po sex 27370 apply " “ a a
Anaheim, CA 92809-0112 El conilngenl
Number, Street, Cilyl Stsl.e 5 Zip Code m Un|iquidaied
El oispiiied
Who owes the debt? Check one. Nature of llen. Check all that apply.
l Debtor 1 only i:i An agreement you made [such as mortgage or secured
l:i Deblor 2 oniy car loan)
i:i Debtor1 and Debtor 2 only n Statuiory lien (such as tax lien, mechanics |ien)
m Ai least one ofthe debtors and another i:i Judgment lien from a lawsuit
i:i Check if this claim relates to a i:i Other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number 1031
2 2 Select Portfolio
' Sewici"gl |n¢ Describe the property that secures the claim: $212,533.00 $198,000.00 $14,533.00
Cr°“"°"$ N“m° 441 Acacla Tree Way, Kissimmee,
Attn: Bankruptcy FL 34758-3683
PO Box 65250 . .
_ As of the date ou file, the claim ls: Chei:k all trial
Salt Lake ley, UT apply y
84165-0250 m Contingent
Number, Street, Cily, Siete 8- Zip Code ij Un|iquidatcd
i:i Disputed
Who owes the debt? Check one Nature of llen. Check all that apply.
- Debwr 1 oniy ij An agreement you made (such as mortgage or secured
l
m Debtor 2 only car Den)
l:l Debtor 1 and Deblor 2 only l:i Stetutory lien (such astax llen, mechanics lien)
i:i At least one ofthe debtors and another l:i Judgment lien from a lawsuit
i:i Check if this claim relates to a |:i Other (l`r'loluding a right to offset)
community debt .
Date debt was incurred 2005-03 Last 4 digits of account number ‘9420
Oflicial Form 106D Schedule D: Creditors Who Have C|aims Secured by Property page 1 of 2

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ii Debtor1 Mi¢hae| |rizarry Case number ti inown}

“ First Name Middle Name t_ast Name y
Add the dollar value of your entries in Co|umn A on this page. Write that number here: $284,237_62
If this ls the last page of your form. add the dollar value totals from all pages.
Write that number here: $284,237.52

 

 

 

List Others to Be Notified for a Debt That ‘(ou Already Llsted

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part t. For example, ita collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. S|m|larly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. lf you do not have additional persons to be notified for any
debts ln Part 1. do not fill out or submit this page.

l:| Name= Numberl Str`eei» CnYi` Stme &Zip code On which line in Part 1 did you enter the creditor? 2.2 `
Select Portfo|io Svcin
10401 DSSI'WOOd Pa|’k Blvd Last 4 digits of account number 9420

Jacksonvil|e, FL 32256-5007

 

Oi'iicia| Form 1060 Additional Page ofSchedu|e D: Creclitors Who Have Clairris Secured by Property page 2 of2

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Fill in this information to identify your case:
DebiOf 1 i'iiiichae| irizarry
First Name Midd|e Name Lasl Name

Debtor 2
iSpouse it iiilng) Firsl Name

 

Middie Name i_ast Name

MiDDLE D|STR|CT OF FLOR|DA. ORLANDO DiViS|ON

United States Bankruptcy Court farther

Case number
iii known; |:l Check ifthis is an

amended filing

 

 

thcia| Form 106E/F
Schedu|e E!F: Creditors Who Have Unsecured C|aims 12115

Ee as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|T\' claims. i.|st the other party to
any executory contracts or unexpired leases that could result in a ciaim. Also list executory contracts on Schedule AIB: Property [Official Form 106AIB} and an
Schedule G: Executory Contracts and Unexpired Leases (Ofiicia| Form 1066]. Do not include any creditors with partially secured claims that are listed in Schedu|e
D: Creditors Who Have C|aims Secured by Property. if more space is needed, copy the Part you need, fill lt out, number the entries in the boxes on the leit. Attach

the Continuation Page to this page. ll you have no information to report in a Part, do not file that Part_ Cin tha top of any additional pages, write your name and
casa number (if known).

List Ali of \’our PR|OR|TY Unsecured Ciaims
1. Do any creditors have priority unsecured claims against you?

Part 1:

l No. on in Pari 2.
i:i Yes.
LisiAii orYour NoNPRioniTv unsecured claims

3. Do any creditors have nonpriority unsecured claims against you?

i:i No. ‘i’ou have nothing to report in this pait. Submit this form to the court with your other schedules

- ¥es.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. |i' a creditor has more than one nonpriorily
unsecured ciaim. list the creditor separately for each ciaim. For each claim listedl identify what type of claim ii is. Do not list claims already included in Pan 1. it more
than one creditor holds a particular ciaim, list the other creditors in Part 3.if you have more than three nonpriority unsecured claims till out the Conlinuation Page of Part

2.

 

4.1

 

 

Assoclation of Poinciana V||lages,

inc.

 

Nonpriority Crediior’s Name

cio Larsen & Assoc., P.L.
300 S Orange Ave Ste 1575
Oriando, FL 32801-3348

 

Number Sireei City Slaie Zip Code
Who incurred the debt? Check one.

- Debtor 1 only

i:i oebror 2 only

m Debtor1 and Deblor 2 only

m At least one of the debtors and another

i:i Check if this claim is for a community
debt
ls the claim subject to offset?

- No
ij Ves

TOTB| claim

$689.53

Last 4 digits of account number

When was the debt incurred?

 

As of the date you file, the claim is'. Check ali that apply

i:i Contingent

i;i unliquidated

ij oispuled

Typa of NONPR|OR|T‘( unsecured ciaim:
i:i Student loans

n Obiigations arising out of a separation agreement or divorce that you did not
report as priority claims

i:i Deth to pension or profit-sharing plans, and other similar debts

- Other. Specify

 

 

Ofl'icial Form 106 Ei'F

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Schedu|e El‘F: Cred|t.ors Who Have Unsecured Cla|ms

Paga 1 of5
otsiro

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Debtor1 |rizarry, Michael

 

 

Case number iii known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.2 ATT Directv Last 4 digits of account number 5515 $358_00

Nonpriorl`ty Cred`iiol‘e Name
When was the debt lncurred?

Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only El Contingent
l:l Debtor 2 only |:l Uniiquldated
|:l Debtor 1 and Debtor 2 only n Dl`sputed
[] At least one of the debtors and another TYP° of NC'NFR'oR'TY unsecu"ed claim
El check irthie claim is fora community m 5*“¢*@“1'°3"5
dam m Ob|igations arising out of a separation agreement or divorce that you did not
is the claim subject to ottset? report as priority claims
- No m Deth to pension or proht-sharing plans, and other similar debts
|:] YBS l Oiher. Specify

4.3 Capita| One Last 4 digits of account number 9879 $251_00
Nonprion`ty Creditor’s Name
Attn: Generai when was the debt lncurred?
CorrespondencelBanliru ptcy
Po sex 30285
Salt Lake City,l UT 84130-0285
Number Street City State Zip Code As of the date you ii|e, the claim is: Check ali that apply
iiiiho incurred the debt? Check one.
- fishtoll 1 only l:l Coniingent
n Debtor 2 only l:l Un|iquidated
l:l Debtor 1 and Debtor 2 only m Dispuied
E] At least one of the debtors and another T¥Pe of NONPRlORlTY unsecured Claim¢
m Checlt if this claim is for a community l:| Swdem loans
debt L_.l Obiigations arising out ot a separation agreement or divorce that you did not
ls the claim subject to offset'? report as priority claims
. Nq l:l Debts to pension or protit-sharing plans, and other similar debts
m YES l other Speelry

4-4 Coasta| Derital Servlces Lan 4 diaiv Of accoqu number 1573 $339.00
Nonprioriiy Creditors Name

When was the debt incurred?
Number Street Ciiy Staie zip Code As of the date you file, the claim is: Check ali that apply
Who incurred the debt? Check one.
- Deblvr 1 only l:l Contingent
E Debtor 2 only l:l Unliquidated
l:l Debtor 1 and Debtor 2 only l:l Disputed
[:l At least one of the debtors and another T¥Pe of NONPR'OR'TY unsecured Claim:
[:l Check ifthis claim is for a community n Student loans
debt l:l Ob|igations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l N¢, l:l Deth to pension or protit.sharing pians, and other similar debts
m `fes l Other. Speciry
thcial Form 106 Er‘F Sl:hedule E!F: Credi‘tors Who Have Unsecured C|aims Page 2 of§

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Debtor t lrizarry, Michael

 

 

Case number ii known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|4.5 | Credif Or|e Ban|( Last 4 digits of account number 8154 3427_00

Nonpriority Greditor’s Name
ATTN: Bankruptcy When was the debt incurrod'i’ 2017-03
Po amc assn
Las 'llegasil NV 89193-8873
Number Street City State Z|p Code As of the date you Iila, the claim is: Checic all that apply
Who incurred the debt? Check one.
- Debtor 1 only El Contingent
El Debtor 2 only El uniiquidateii
m Debtor 1 and Debtor 2 only ij Diserted
l:l At least one crithe debtors and another Type °f NoNPR|OR|TY unsecured claim
m Check lfthls claim is for a community n Siudem loans
debt m Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l ND n Debts to pension or profit-sharing plans and other similar debts
ij Yes - Other. Specii'y

4_5 First premier Ban|.( Last4 digits of account number 3536 $875.00
Nonpriority Creditors Name
Attn: Bankruptcy when was the debt incurrad? 2013.02.13
Po eox 5524
Sioux Fal|s, SD 5?117-5524
Number Street City State le Code As of the date you tila, the claim is'. Check all that apply
Who incurred the debt? Checl< one.
- Debtor 1 Of\|y l:l Contingent
l:l Debtor 2 amy El unliquidated
ij Debtor1 and DebtorZ only m Disputed
l:l At least one ofthe debtors and another Typ° °f NONFR|OR|W unsecured ulau"i
l:l check innis claim is for a community m S‘ude"* '°a“$
debt l:l Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
- Nc, El Deth to pension or profit-sharing plans, and other similar debts
l:l Yes l giher_ gpecify Revo|ving account

4-? Gastro Associates of OSceola Lasc 4 digiw of account number 1058 $312.00
Nonpn'ority Crediior‘s Name

When was the debt incurred?

Number Street City State Zip Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
. Debtor 1 Ol'l|y \:l Contingent
n Debtor 2 only n Lln|iquidated
l:l Debtor1 and Debtor 2 oniy ij Diepi.ited
m At least one otthe debtors and another T¥P° of NONPR'oR'TY unsecured claim
l:\ Chack lf this claim is for a community m Siuue"t l°a"$
debt \;l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- N¢, l:l Deth to pension or profit-sharing plans4 and other similar debts
m YEE - Other. Specify

Ofi'¢cial Form 106 EiF Schedule E!F: Creditors Who Have Unsecured C|aims Page 3 of5

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Debtor t |rlzarry, Michael

 

 

CBSE |'iUi'T\bt-.‘r tit known}

 

 

 

 

 

 

 

 

 

 

48 lnfinity indemnity insurance C Last 4dislt5 nfa¢=nnunf number 7489 $123.00
Nonpriority Creditol‘s Name
When was the debt lncurred? 2016_0}'
Number Street City State Z|p Code As of the date you fi|o, the claim is: Check all that apply
Who incurred tha dabt? Check one.
- Debtor 1 only l:l Contingent
a Debtor 2 only n Urlliquidated
E Debtor 1 and Debtor 2 only m Disputed
E] At least one of the debtors and another T.VP° of NoNPR'ClR'TY unsecured claim¢
m Check if this claim is fora community l:l Stl'ldelll loans
debt m Ob|igations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No l:l Debtsto pension or profit-sharing plans, and other similar debts
El yes l rymer epeciiy Open account
4-9 lnfinity indemnity insurance C List 4 digits of account number 7489 $123.00
Nonpriority Creditor’s Name
When was the debt incurred? 2016-07
Number Stieet City State Zip Code As ofthe date you ti|e, the claim is: Check all that apply
Who incurred the debt? Check one
l Debtor 1 only m Contingent
[:l Debtor 2 only l:l Unliquidated
l___l Debtor 1 and Debtor2 only l:l Disputed
m At least one otthe debtors and another TYPB‘ of NONPRlORlTY Unsebbred Claim:
m Check ifthis claim is for a community l:l Sll"°lenl loans
debt l:l Obligations arising out ot a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l Ng L_.l Debts to pension or pruitt-sharing plans, and other similar debts
|_'.l res l other. specify Open account
The Law Office of Paul A. Krasker,
4.10 P_A_ Last 4 digits of account number $840.00

 

 

 

Nonpriority Creditofs Name

1615 Forum Fl Fi 5
West Palm BeachJ FL 33401-2320

 

Number Street City State le Code
Who incurred the debt? Check one.

- Debtor 1 only

g Debtor 2 only

l:l Debtor 1 and Debtor 2 only

l:l At least one otthe debtors and another

l:l Check if this claim is for a community
debt
ls the claim subject to offset?

l No
l:l Yes

When was the debt incurred?

 

As ofthe date you ti|e, the claim is: Check all that apply

l:l Coniingent

|Il unliquidated

|Il oispuled

Type of NONPRIORHY unsecured claim:
m Student loans

l:l Ooligations arising out ot a separation agreement or divorce that you did not
report as priority claims

ij Debts to pension or protit-sharihg plans, and other similar debts

- Other. Specify

 

 

List others to se Notlrled About a oebc That you Already Listed

5. Use this page only i‘i`you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone eise. list the original creditor irl Parts 1 or 2, then list the collection agency here. Similariy, ifyou
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. lf you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address

Ofnclal Form 106 EiF

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Schadula EIF: Creditors Who Have Unsecured Claims

Onwhich entry in Part 1 or Part 2 did you list the original creditor?

Page 4 of 5

CaSe 6219-bl<-00531-KS.] DOC l-l

Debtor1 lrizarry, Michae|

Awa Coilections Line g or (checi< one);
PO Box 6605

Orange, CA 92863~6605

Last 4 digits of account number

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Case number tr known)

 

i:i Part 1: Creditors with Prioiiiy Lirisecured Clairris
- Part 21 Creditors with Nonpriority Unsecured Claims

1573

 

Name and Address

Credit Co|iection Serv
725 Canton St

NOrWGGd, MA 02082-2679

Line § ot {Check one).'

Lasi 4 digits of account number

Dn which entry in Part 1 or Part 2 did you list the original creditor?

i:l Part 1: Creditors with Priority Unseoured C|aims
- F'arl 21 Credilors with Nonpriority Unsecured Ciaims

7489

 

Name and Address

Credit Co||ectlon Serv
725 Canton St

Norwood, MA 02062-2679

Line § or rcheci< onei-

i.ast 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

m Part 1: Creditors with Priority Unsecured Ciaims
- Part 2: Creditors with Nonpriority Unsecured C|aims

7489

 

Name and Address

First Premier Elank

3820 N Louise Ave

Sioux Fa|is, SD 57107-0145

Line 5._6 or (checi< one):

Last d digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Ei Part 1: Creditors with Priority Unsecured Ciaims
- Part 2: Creditors with Nonpriority Unsecured C|aims

3536

 

Name and Address

Fox Co|lection Center

454 Moss Tr|

Goodlettsville, TN 3?072-2029

Line g of {Checir one).'

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

i:l Part 1: Creditors with Priority Unsecured C|airns
- Part 2: Creditors with Nonpriority Unsecured C|aims

1058

 

Name and Address

l C Systems, |nc.

PO Box 643?8

Saint Pau|, MN 55164-0378

Lineglm.;w of (Checir one}:

Last 4 digits of account number

On which entry in F'art 1 or Part 2 did you list the original creditor‘?

n Part 1: Creditors with Priority Unseci.ired C|alms
- Part 2: Creditors with Nonpriority Unsecured C-laims

5515

 

Add the Amounts for Each Type of Unsecured C|atm

B. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes on|y. 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

 

 

 

 

Total C|aim
6a Domestic support obligations Ea. $ o_o{]
Total claims
from Part1 6b Taxes and certain other debts you owe the government Eb. $ plug
Sc. Ciaims for death or personal injury while you were intoxicated Ec. $ 0_[]0
ed Other. Add all other priority unsecured claims Write that amount here. Bd. $ ago
Be. Total Priority. Add lines 6a through Bd. Ge. $ o_go
Total Claim
61. Student loans 61- $ 0.00
Total claims
from Fart 2 Sg. Obtigations arising out of a separation agreement or divorce that
you did not report as priority claims 69 5 o-oo

Gh. Debts to pension or profit-sharing plans. and other similar debts

5"~ $ D.Ot`.i

 

 

 

 

Gi. Other. Add alt other non riorit unsecured claims. Write that amount Gi.
here. '° y s 4,331.53
Ej. Total Nonpriority. Add lines Eif through 6i. Ej. $ 4 337 53
__._;.___
Ol‘iiciai Form 106 Ei'F Schedule ElF: Creditors Who Have Unsecured Clalms Page 5 of 5

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Fi|| in this information to identify your case:

Debtor1 Mlchaei irizarry

First Name Middle Name Last Name

Debtor 2
(Spouse if. tiiirig) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: MlDDLE D|STRlCT OF FLOR|DA, ORLANDO DlVlS|ON

 

Case number
(ir rnuwnj l:| Check if this is an

amended filing

 

 

Officia| Form 106G

Schedu|e G: Executory Contracts and Unexpired Leases 12:15

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the additional page, fill it out, number the entries, and attach lt to this page. On the top of any
additional plges, write your name and case number (if known).

1. Do you have any executory contracts or unexpired |eases?
- No. Check this box and file this form with the court with your other schedules You have nothing else to report on this form.
l:l Yes. Fill in all of the information below even if the contacts of leases are listed on Schedi.ile A!B:Property(OfiIcial Form 106 AIE).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases

Ferson or company with whom you have the contract or lease State what the contractor lease ls for
Name, Number, Street, Cityl Slate and Z|P Code

2.1
Name

 

 

Number Street

 

City State Z|P Code
2.2
Name

 

 

Number Street

 

City State ZlF‘ Code
2.3

Name

 

 

Number Street

 

City State Z|P Code
2 .4
Name

 

 

Number Street

 

City State Z|P Code
2 .5
Name

 

 

Number Street

 

 

City St§tEe Z|P Code
Ofiicial Form 106G Schedule G: Executory Contracts and Unexpirnd Leasas Paget of 1

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Fill in this information to identify your case:

 

 

 

Debtor1 Michael irizarry

Firsl Name Midd|e Name Last Name
Debtor 2
(Spouss ifl 'ii|ing] First Name Middlei Name Lasi Name

United Stales Bankruptcy Court for the: M|DDLE D|STR|CT OF FLOR|DA, ORLANDO DlV|S|ON

 

Case number
(lihhdwni ij Check if this is an
amended filing

 

 

Officia| Form 106H
Schedule H: ¥our Codebtors 12:15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. |f two married people
are filing together. both are equally responsible for supplying correct information. |f more space is needed, copy the Additionai Page, fill it out,
and number the entries in the boxes on the |eft. Attach the Additional Page to this page. On the top of any Additiona| Pages, write your name and
case number (lf known). Answer every question.

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.

- No
l:lYes

2. W|thin the last 8 years, have you lived in a community property state or territory? {Community property states and territories include Arizona,
Ca|ifornia, ldaho, Louisiana, Nevada. New l‘vlexico, Puerto Rico, Texas. Washington, and Wlsconsin.]

l No. Go to line 3.
El Yes. Did your spouse, former spouse. or legal equivalent live with you at the time?

3. In Co|umn 1, list ali of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you, List the person shown in
line 2 again as a codebtor only ifthat person is a guarantor or cos|gner. Make sure you have listed the creditor on Schedule D (Offlcial Form
1060), Schedu|e ElF (Crfficial Form 106E!F), or Schedule G {Offlcla| Ferm1OBG). Use Schedu|e D, Schedule EIF, or Scheduie G to fill out

 

 

 

 

 

 

Column 2.
Column i‘: ‘l'our codebtor Column 25 The creditor to whom you owe the debt
NSmE|, Number, Sll’QBll Ci\y, SLS‘IB and ZlP Code Check all Schedu|es that app|y'
3.‘1 El Schedule D. line
Name El Scheduie ElF, line
El Schedule G. line
Number Slreet
Cily Slate ZIP Code
|3.2| EJ schedule o, line
Name iZi schedule EiF, line
|I| schedule G, line
Number StFEel
City State ?_lP Code
Offlcial Form 10GH Scheduie H: Your Codebtors Page 1 of 1

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Case 6:19-bl<-00531-KS.] DOC 1-1 Filed 01/28/19 Page 25 of 50

Fill irl this information to identi our case

Debtor1 Michaei irizarry

Debtor 2
tSpouse, ilfiiing)

 

United Slaies Bankruptcy Court for the: M|DDLE DiSTR|CT OF FLOR|DA, OR]_ANDO
D|V|SlON

Case number Check if this is:

(iihnc-wni El An amended tilan

E] A supplement showing postpetition chapter 13
income as of the following date:

Offlcia| Form 106| m

Schedu|e |: Your income 1an

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2}. both are equally responsible for
supplying correct |nformatlon. lfyou are married and not filingjoint|y, and your spouse is living with you, include information about your
spouse. |f you are separated and your spouse is not filing with you, do not include information about your spouse. |f more space is neededr
attach a separate sheet to this form. On the top of any additional pages, write your name and case number tif known). Answer every question.

 

 

Part 1: Describe Empioyment

  
 

1. Fill ln your employment

   

Debtor1 4 behtor-Z-or non`¥fi|lng'spouse l j;` f _ n _'

 

 

 

 

 

information.
if you have more than one job, E l t mt - EmP|OVEd n Emp|°yed
attach a separate page with mp °yme" s us
information about addlildnal g N°t emp'°yed g Nm employed
employers' Occui)aflon Bartender
include part-time, seasonal, or , _ ,
selfempioyed Worl<. Empioyer$ name Springs Food Servlce, LLC.
Occupation may include student or Emp|Oyef'S address PO Box 22136
homemaker, if it applies Lake Buena Vista, FL
32830-2136
How long employed there? 10 years
Give Detaiis About Month|y income

 

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $O in the space include your non-filing spouse
unless you are separated

if you or your non-filing spouse have more than one employer, combine the information for all employers forthat person on the lines below. lf you need more
space, attach a separate sheet to this form.

 

 

 

 

Foi_'f ertgr-j$:'or}:,. f
non-filing spouse -
List monthly gross wages, salary, and commissions (before ali payroll
2- deductions}. if not paid monthly, calculate what the monthly wage would be. 2- 3 31339'66 5 N!A
3. Estimate and list monthly overtime pay. 3. +$ D.DD +$ N.l'A
4. Calcu|ate gross lncome. Add line 2 + line 34 4. $ 3,389.66 $ NIA

 

 

 

 

 

Oi`i'lciai Form 1061 Schedulc I: 1Your Incomc page l

 

Case 6:19-bl<-00531-KS.] DOC 1-1 Filed 01/28/19 Page 26 of 50

Debtor1 lrizarry, Michael Case number tirkrluwn)

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_.F?\’{l?¢bf¢t?_ fi
inert-filing spouse`: --
Copy linel 4 here 77 77 7777777 77 7 7 __ __ __ __ __ __ 4- 5 Nl'A
5. List all payroll deductions:
5a Tax, Medicare. and Social Security deductions 5a $ 513.57 $ NIA
5b. Mandatory contributions for retirement plans 5b. $ 0_00 $ NIA
5c. Vo|untary contributions for retirement plans 5c. $ 484_32 $ NIA
5d. Required repayments of retirement fund loans 5d. $ 0_00 $ N;A
5e. insurance 59- $ 479.77 5 Nl'A
5f. Domestic support obligations 5f. 5 0_00 $ NIA
59. Union dues 59- $ 35.53 5 Nl'A
5h. Other deductions. Specify: 5h.+ $ 0_00 + $ NlA
B. Add the payroll deductions Add lines 5a+5b+5c+5d+5e+5f+59+5h. 6. $ 1,513.19 $ NIA
i'. Calcu|ate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 1,876_47 $ N;A
B. List ali other income regularly received:
Ba. Net income from rental property and from operating a business,
professionl or farm
Attach a statement for each property and business showing gross
receipls, ordinary and necessary business expenses, and the total
monthly net income. Ba. $ O,|J[J 5 N]A
Bb. interest and dividends Bb. $ 0_00 3 N[A
Bc. Farnliy support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support child support n'laintenancel divorce
settlementl and property settiement. Sc. $ 0.00 $ NIA
Bd. unemployment compensation Bd. $ 1100 $ NIA
Se. Socia| Security 3€. $ 0.00 $ Nl'A
Bf. Other government assistance that you regularly receive
include cash assistance and the value (if known} of any non-cash assistance
that you receive such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidiesl
Specify: 8f. $ 0.00 $ NIA
Eg. Pension or retirement income Eg. $ 0_00 $ N;A
Bh. Dther monthly income. Specify: Bh.+ $ 0.00 + $ NIA
9. Add all other income. Add lines Ba+Bb+Bc+Bd+Be+Bf+Bg+Bh. 9. $ 0.00 $ NIA
tiJ. Calcu|ate monthly income. Add line 7 + line 9. 10. $ 1,376_41 + $ N}A = $ 1’376_47
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-ming spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your househoid, your dependenls, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Scneduie J.
Specify: 11, +$ [)_gg
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
erte that amount on theSummary of Scheduies and Staristical Summary of Certal'n l_l'abi'll`ti'es and Reiated Data. if it applies 12- $ 1376-47
Combined

 

 

monthly income
13. Do you expect an increase or decrease within the year after you file this form?

l No.

 

|] Yes. Explain: f

OFf'iciai Form 1061 Schedulc I: Your Income page 2

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Fill in this informalion to identity your casc:

 

 

DEthi' 'i M]chael Irizarry Check if this is:
|:l An amended filing
Debtor 2 |:| A supplement showing postpetition chapter 13
(Spouse_ ii fillng) expenses as of the following date:
United Staies Bankruptcy Court torthe: MiDDLE DlSTR|CT OF FLOR|DA, ORLANDO MM f DD f YYYY

D|VlS|ON

Case number
(lt known)

 

 

 

Officiai Form 106J
Schedu|e J: Your Expenses izn.=,

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
lnformatlon. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

Describe Your Household
1. ls this a joint case?

l No. Go to line 2.
l:i ¥es. Does Debtor 2 live in a separate household?

[:l No
[:l Yes. Debtor 2 must tile Officiai Form 106J-2,Ex,oenses for Separate Householdof Debtor 2.

2. Do you have dependents? l No

 

 

 

 

Do not list Debtor 1 and |:| Yes_ Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2_ each dapendent.............. Debtor1 or Debtor 2 age live with you?
_ _ _

Do not state the [:| NO
dependents names. l:l Yes

|;l No

l:l Yes

|:i No

|:l Yes

i;l No

i:i ¥es

3. Do your expenses include l NO

expenses of people other than n

yourself and your dependents? Yes

Estimate ¥our Ongolng Monthiy Expenses
Estlmate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of date after the bankruptcy is filed. if this is a supplemental Scheduie J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedu.lo l: ¥our income

(official Form 1061.) .f. `i `-;4§ _ §¥-'_-'¢.ur seasons _ .

4. The rental or home ownership expenses for your residence. include first mortgage
payments and any rent forthe ground or lot 4- 5 1’292'1 8
if not lncluded in line 4:
4a Real estate taxes ` 4a $ 0.0D
4b. Property` homeowner’s, or renter’s insurance 4b. $ 0.00
4c. Home maintenance repair, and upkeep expenses 4c. $ 0.00
4d.` Homeowner's association or condominium dues 4d. $ 23.00

5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0_00

Officiai Form 106J Scheduie J: Your Expenses page 1

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Debtor 1 lrizarry, Michaei

6.

P°.`*'

11.
12.

13.
14.
15.

16.

11

18.
19.

20.

21.
22.

23.

24.

Uii|ities:
6a Electricity, heat natural gas
6b. Water, sewer, garbage collection

6d. Other. Specify:

Case number (ir known]

 

Food and housekeeping supplies
Chiidcare and children’s education costs
Ciothing, laundry, and dry cleaning
Persona| care products and services
Medica| and dental expenses

Do not include car payments

|nsurance.

15a Life insurance

15b. Heaith insurance

15c. Vehicle insurance

15d. Other insurance Speciiy:

 

Specify:

 

installment or lease payments:
1i'a. Car payments for Vehicie 1

17bi Car payments for Vehicle 2
17o. Other.Speci‘ly:

 

17d. Other. Specify:

 

Specify:

 

20a Mortgages on other property
20b. Real estate taxes

Other: Specify.'

 

 

Calcu|ate your monthly expenses
22a. Add lines 4 through 21.

Calcu|ate your montth net income.

Ga. $ 125.00
Sb. $ 35.00
Gc. Teiephone, cell phone, internet, satellite, and cable services 6c. $ 145_00
6d. $ 0.00
7. $ 300.00
B. $ D.DO
9. $ 0.00
1lJ. $ 0.00
11. $ 0.00
Transportation. include gas. malntenance, bus or train fare. 12. $ 200,00
Entertainment, clubs, recreation, newspapers magazines and books 13. $ 0_00
Char|table contributions and religious donations 14, $ D,DO
Do not include insurance deducted from your pay or included in lines 4 cr 20.
15a. $ 0.00
15b. $ O.DO
15c. $ 121.76
15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
16, 5 0.00
17a $ 0_00
17b. $ 0.00
17c. $ 0.00
17d. $ 0.00
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Scheduie i, Your income (Official Form 106|). 13- 5 0~00
Other payments you make to support others who do not live with you, $ 0,00
19.
Other real property expenses not included in lines 4 or 5 of this form or on S_cheduie l: Yourlm:ome.
203- $ D.UO
20b. $ U.Di.`i
2i]c. Property. homeownei“sl or reniei‘s insurance 20c. $ 0_00
ZDd. Maintenanoe, repair, and upkeep expenses 20d. $ _g_go
20e. Homeowner's association or condominium dues 20e. $ 0_00
21. +$ 0.00
3 2,241.94
22b. Copy line 22 {monthly expenses for Debtor 2}, if any, from Officiai Form 106.1-2 $
22c. Add line 22a and 22b. The result is your monthly expenses $ _____m
23a Copy line 12(your combined monthly income) from Schedule i. 23a $ 1 876_47'
23b. Copy your monthly expenses from line 220 above 23b. -$ 2,241_94
230. Subtract your monthly expenses from your monthly income. 23a $ _365'47

The result is your monthly net income.

 

 

 

 

 

 

Do you expect an increase or decrease in your expenses within the year after you file this forrn?

For example do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to iheterms of your mortgage'?
- No.

 

I;l Yes_ | Explain here:

Ofticial Form 106.1 Bchedule J: Your Expenses

page 2

Case 6:19-bi<-00531-KS.] DOC 1-1 Filed 01/28/19 Page 29 of 50

Fill in this information to identify your case:

Debtor 1 Michaei irizarry
First Name Middia Name LastName

Debtor 2
(Spousa il, i|ing) First Name Mido|e Name Last Name

 

United States Bankruptcy Court for the: MiDDLE DlSTRiCT OF FLOR|DA, ORLANDO D|V|SiON

 

Case number
tirl<ncwnj l:] Check ifthis is an

amended tiling

 

 

 

thcia| Form iOGDec
Deciaration About an individual Debtor's Schedules 1315

if two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Be|ow

Did you pay or agree to pay someone who is NClT an attorney to help you fill out bankruptcy forms?

-No

ij Yes. Name of person Attach Bankruptcy Petr`ilion Preparer’s Not‘ice,
Deciaratl`on, and S)gnat‘ure (Ofticiai Form 119)

 

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

X lsi Michaei Irizarry X

Michaei irizarry Signature of Debtor 2
Signature of Debtor 1

ijlat~‘.l January 28, 2019 Date

 

 

CaSe 6219-bi<-00531-KSJ DOC 1-1 Filed 01/28/19

Fill in this information to identify your case:

Page 30 of 50

Debtor1 Michaei irizarry
First Name Midd|e Name Last Name

Debtor 2
(Spouso if, n|ing) Firsl Name Midd|e Name Lasl Name

 

United Slates Bankruptcy Court for the: MiDDLE D|STR|CT OF FLOR!DA. ORLAN DO D|V|SION

Case number
tirknown) l:| Check ifthis is an

amended filing

 

 

 

Officiai Form 1068um
Summary of Your Assets and Liabilities and Certain Statisticai information 12115

Be as complete and accurate as possib|e. |ftwo married people are filing together, both are equally responsible for supplying correct
information. Flii out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms. you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

  

value`o`i what you own -

 

1' ?§."§§S,',°i§f§§5',"?£§|"¢1§?§§'§;?§#§"£.15°§{;’§3|9NB s 193,000.00
1b.Copy line 62, Total personal property.from Schedu|eAlB $ 10 535,00
tc. Copy line 63,Tota|ofalt property on ScheduieA/B $ 208 535_¢]0
Summarlze Your Llabilltles

 

voiiri_sa_lsi_l`li_ies l 1§-

 

 

Amount youowe' t
2. Scheduie D.' Credltors Who Have Cial'ms Secureci by Property (Offlcia| Form 106D]
2a. Copy the total you listed in Coiumn Nlmountof cial`m. atthe bottom of the last page of Part 1 of Scneduie D... 5 2341237-62
3. Scheduie E/F.' Credl`fors Who Have Unsecureo‘ Cial`rns (Of'iicial Form 106E/F]
3a Copy the total claims frorn Part 1 (priority unsecured ciairns) from line 6a dcheduie E/F $ 0-00
3b. Copy the total claims from Part 2 (nonpriority unsecured ciaims) from line 61 doheduie E/F. ........................... $ 4:337_53

 

Your total liabilities $ 288,575.15

 

 

 

Sl.lmmarize ‘l"our income and Expenses

4. Scheduie i. Yourincome(Ofi`icial Form 106|)

Copy your combined monthly income from line 12 oScheo‘ule l ................................................................................ $ 1»876-47
5_ Scheduie J: Your Ex,oehses(Ochia| Form 106J)

Copy your monthly expenses from iine 22c of Scheo‘uie J .......................................................................... $ 21241-94

Answer These Questions for Administrative and Statlstica| Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
[:| No. You have nothing to report on this part of the lorm. Check this box and submit this form to the court with your other schedules.

l Yes
7. What kind of debt do you have?

- Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personai, famiiy. or household
purpose." 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes 28 U.S.C§ 159.

|:l Your debts are not primarily consumer debts. You have nothing to report on this part of the form Check this box and submit this form to the
court with your other schedules.

Oi"liciai Form 10l53um Summary of ‘i'our Assets and Liabilities and Certain Statistical information page 1 of 2

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Debtor1 lrizarry, Michaei Case number(ffknown}

 

8. From the Statement of Your Current Monthiy income: Copy your total current monthly income from Officiai Form
122A-1 Line 11;oR_ Form 1223 Line 11;0R, Form 122C-1 Line14_ $ 3’123-92

 

 

 

9_ Copy the following special categories of claims from Part 4, line E of Scheduie E/F:

 

__ _ _ _ _ _ ___ _ __ _ _ T¢f¢"i=.'aimi " "
_From»Part 4 on Scheduioi»E/i_-';leopyft_héflfollowing:`
Qa. Domestic support obligations {Copy line Ba.) $ O.DU
9b. Taxes and certain other debts you owe the government (Copy line Gb.) $ 0.00
9c_ Claims for death or personal injury while you were intoxicated (Copy line 6c_) $ 0_00
Bd. Student loans_ (Copy line Eif_) $ 0_00
Qe. Ob|igaiions arising out of a separation agreement or divorce thatyou did not report as
priority ciaims. (Copy line Sg.) $ _0.0U
Qf. Debts to pension or pmm-sharing plans, and other similar debls. (Copy line Sh.) +$ 0.00
Qg_ Total. Add lines 9a through Qf_ 5 0.00
Officiai Form 1063um Summary of Your Assets and Liabilities and Certain Statistical information page 2 of 2

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Fill in this information to identify your case:
Debtor1 Michaei irizarry
First Name Middie Name . LastName

Debtor 2
(Spouss 'rt, tllng) Flrst Name Middle Name Last blame

 

United States Bankruptcy Court for the: MiDDLE DiSTFthT OF l-'LOR|DA, ORLANDO DlVlSiON

Case number
(irxnown; \:| Check if this is an

amended filing

 

 

 

Officiai Form 107
Statement of Financiai Affairs for individuals Filing for Bankruptcy 4116

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. lf more space ls needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if knowni. Answer every question.

 

Give Details About Your Maritai Status and Where You Lived Before
1. What is your current marital status?

l:i Married
- Not married

2. During the last 3 years, have you lived anywhere other than where you live nov\r?

- No
l:l Yes. List all of the places you lived in the last 3 years_ Do not include where you live now_
Debtor 1 Prior Address: Dates Debtor 1 lived Debtor 2 Prlor Address: Dates Debtor 2
there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Commum'ty property
states and territories include Arizona, Califomia, ldaho, Louisiana, Nevada. New Mexico. Puerto Rico, Texas. Washington and Wlsconsin_)

l No
|:i Yes. Make sure you till out Scheduie H: Your Codebtors (Official Form 106H].

Explaln the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
i-'iil in the total amount of income you received from all jobs and ali businessesl including part-time activities
ii you are filing a joint case and you have income that you receive togetherl list ii only once under Debtor1.

 

|:i No
l Yes_ Fill in the details
Debtor 1 - Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that appiy. (before deductions and Check all that apply. (before deductions
exciusions) and exclusions)
For last calendar year: - W - - $50,735.07 |:l Wages. commissionsl
(January 1 to December 31, 2018 l bonu::sesu`p;ommlsslons’ b,;,nuse,$l tips

|:| Operat|-ng a busines$ i:i Operating a business

 

Officiai Form107 Statement of Financia| Af'fairs for individuals Filing for Bankruptcy page 1

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Debtor1 lrlzarry, Michaei

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Case numberrrrimuwn)

Debtor 1
Sources of income

Debtor 2

Gross income Sources of lncome Gross income

 

Check all that apply. [before deductions and Check atl that apply. (before deductions
exclusionst and exclusions)
For the calendar year before that: - Wages commissions $41,226.00 i:i Wages, commissions
{January 1 to December 31, 2017 i bonuses tips ' bonuses' tips
|:| Operaiing a business [:.l Operating a business
For the calendar year: - imagesl Ccin.ii.iiissioiis' $49,632.00 [:l Wages, commissions

(January 1 to December 31, 2016 i

bonuses, tips bonuses. ltips

ij Operaiing a business |:i Ctperating a business

 

Dld you receive any other income during this year or the two previous calendar years'?

include income regardless of whether that income is taxable Examples of other income are aiimony; child support; Social Security, unemploymentl and
other public benefit payments; pensions; rental income; interest dividends; money collected from lawsuits; royalties; and gambling and lottery winnings_ if
you are filing a joint case and you have income that you received together, list it only once under Debtor 1_

List each source and the gross income from each source separately Do not include income that you listed in line 4_

l No
lI| yes_l=illinmedetaits_

Debtor 1 ' Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe below. each source Describe below. (before deductions

(before deductions and
exclusions)

and exclusions)

List Certain Payments ¥ou Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2‘s debts primarily consumer debts?
i:i No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as “incurred by an
individual primarily for a personai. family. or household purpose,”
During the 90 days before you filed for bankruptcy. did you pay any creditor a total of $6,425* or more?

n No. Go to line 7. _

m Yes List below each creditor to whom you paid a total of $6.425* or more in one or more payments and the total amount you paid that
creditor. Do not include payments for domestic support obligations such as child support and alimony. Also. do not include
payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4i011'19 and every 3 years after that for cases filed on or after the date of adjustment

- Yes. Debtor t or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy did you pay any creditor a total of $600 or more?

l No. Go to line ?.

m ‘res List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor_ Do not include
payments for domestic support obligationsl such as child support and alimony_ Aiso. do not include payments to an attorney for
this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for
paid still owe
7_ Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?

insiders include your relatives; any general pattners; relatives of any general partners; partnerships of which you are a general partner; corporations of
which you are an ofiicer, director. person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations such as child support and alimony.

- i~io
m Yes_ List all payments to an insider_

lnsider's Name and Address Dates of payment Total amount Amount you Reason for this payment

Officiai Form 107

paid

stiii owe

Staisement of Financial Affairs for individuals Filing for Bankruptcy

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P€Q€ 2

Case 6:19-bi<-00531-KS.] DOC 1-1 Filed 01/28/19 Page 34 of 50

Debtor t |rizarry, Michaei Case number(irimawnj

B, Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
include payments on debts guaranteed or cosigned by an insider.

- No

l:i Yes. List aii payments to an insider

lnsider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe include creditors name

identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List ali such matters, including personal injury cases. small claims actions divorces, collection suits, paternity actions, support or custody modifications
and contract disputes.

l No
iii Yes. Fill in the details

Case title Nature of the case Court or agency Status of the case
Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or ioviad?
Check all that apply and fill in the details beiow.

l No. Go lo line 11.
i;i Yes. Fiii in the information beiow.
Creditor Name and Address Describe the Property Date Va|ue of the
Property
Expiain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

- No
iIi yes.i=illinthedeiails.

Creditor Name and Address Describe the action the creditor took Date action was Amount
taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

l No
i:i Yes

m List Cerlain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
- No

l:l Ves. Fili in the details for each gift.

Gifts with a total value of more than $600 per Describe the gifts Dates you gave Value
person the gifts
Person to Whom You Gave the Gift and
Address:
14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any chlr|ty?
- i~io
i:i Yes. Fill in the details for each gift or contribution .
Gifts or contributions to charities that total Describe what you contributed Dates you Vaiue
more than 5600 contributed

c harity's Name
Address (uumber. street cliy, state and le cedar

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

Officiai Form10`i' Statoment of F|nancial Affairs for individuals Filing for Bankruptcy page 3

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Debtor1 |rizarry, Michae| Case number(rr)mown;

or gambling?

- No
l:l Yes. Fill in the details.

Desoribe the property you lost and

Describe any insurance coverage for the loss Date of your Valuo of property
how the loss occurred

include the amount that insurance has paid. List pending loss lost
insurance claims on line 33 ofSchedule A/B,' Propedy.

mild Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys, bankruptcy petition preparers. or credit counseling agencies for services required in your bankru ptcy.
El No

l ‘res. Fi|| in the details
Person Who Was Paid

Description and value of any property Date payment or Amount of
Address transferred transfer was payment
Emai| or website address made
Person Who Made the Payment, lf Not ‘l'ou
Lalllll Office of F|avio E. A|varez 1i25!19 $1,500.00
911 N Maln St Ste 3

Kissimmee, FL 34744-4520

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors'?
Do not include any payment or transfer that you listed on line 16.

l No
l:l ves. Fill in the details
Person Who Was Paid

Descrlption and value of any property Date payment or Amount of
Address transferred transfer was payment
made
18. Within 2 years before you filed for bankruptcy, did you se||, trade, or otherwise transfer any property to anyoner other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security [such as the granting of a security interest or mortgage on your property). Do not include
gifts and transfers that you have already listed on this statement
l No
l:| Yes. Fill in the detai|s.
Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made
paid in exchange
Person's relationship to you
19.

Within 10 years before you filed for bankruptcy, did you transfer any property to a seif-sett|ed trust or similar device of which you are a
beneficiary? {These are often called asset-protection devices_)

l No
ij ‘(es. Fill in the details

Name of trust Desoription and value of the property transferred Date Transfer was

made

Ofl“lcial Form 10'1r Statement ofFlnanc|al Affairs for individuals Filing for Bankruptcy

page 4
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Debtor1 |rizarry, Michae| Case number(rrknown;

 

List of Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storago Units

20. Within 1 year before you filed for bankruptcy. were any financial accounts or instruments held in your name, or for your benefit, ctosed,
sold, moved, or transferred?
include checking, savings. money market, or other financial accounts; certificates of deposlt; shares in banks. credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutionsl

- No

lIl Yes. Fill in the details

Name of Financla| institution and Last4 digits of Type of account or Date account was Last balance before
Address women street clty. stale ana zlP account number instrument closed, soldl closing or transfer
coast moved. or

transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities.
cash, or other valuables?

- No
|Il ves. Fill in the details

Name of Financiat institution Who else had access to it? Describe the contents Do you still
Address iNumber, street ci¢y, state and zlP code| Address inumner. snael. clry. state have it?

and ZlP Coddl

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

- No
n Yes. Fili in the details.
Name of Storage Faci|ity Who else has or had access Descrlbe the contents Do you still
Address iuumber, sml, city, state ana zlP coaei to it? have it?
Address luumoer, street cny, stare
and ZlP Coda|

identify Property ‘(ou Hoid or Contro| for Someone E|se

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for, or hold in trust for

someone.

l No

l:l Yes. Fill lnthe details.

0wner's Name Where is the property? Describe the property Vaiue
Address ¢Numher, sheet city, stare and zlP cedar iNumber. Street Cltv, Stm and ZlP

com
Part 10: Give Details About Environmerltai information

For the purpose of Part 10, the following definitions app|y:

l Environmentai law means any federa|, state, or local statute or regulation concerning pollution, contamination. releases of hazardous or
toxic substances, wastes. or material into the air, |and, soil, surface water, groundwater, or other medium, including statutes or regulations
controlling the cleanup of these substances, wastes, or material.

- Site means any iocation, facility, or property as defined under any environmental iaw. whether you now own, operate, or utilize it or used to
own, operate, or utilize it, including disposal sltes.

- Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
materiall pollutant, contaminant. or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmentai unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

l No
ij Yes. Fill in the details
Name of site Governmental unit Environmentai iaw, if you Date of notice
Address mcmann street ciey, state and zlP codel Address ¢Nurrmr, sugar city, stan and know it
zlP cedar
Oflicial Form 107 Stetement of Financia| Ai'fairs for individuals Filing for Bankruptcy page 5

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Debtor1 |rizarry, Michaei Case number(irl<nowm

25. Have you notified any governmental unit of any release of hazardous material?

- No
l:l ¥es. Fill in the details.
Name of site Governmenta| unit Envirorlmentai law, lf you Date of notice
Address llvumner, street clty, state end zle coeel Address (Number, street. city. state and know it
zlP outlet

26. Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

- No
ill Yes. Flll in the details
Case Titie Court or agency Nature of the case Status of the
Case Number Name ‘ case
Address lnumber, street city, stale
and ZlP Codel

mw Detaiis About ‘r'our Bus|ness or Connections to Any Business

21. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
l:l A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
[:l A member of a limited liability company (LLC) or limited liability partnership (LLP)
[:| A partner in a partnership
l:l An officer, director, or managing executive of a corporation
l:l An owner of at least 5% of the voting or equity securities of a corporation
l No. None of the above applies. Go to Part 12.

l:l Yes. Check all that apply above and fill ln the details below for each business.

Business Name Describe the nature of the business Empioyer identification number

Address Do not include Social Security number or iTiN.
lnumber, street, clty. slate end zlP cotter Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali financial
institutionsl creditors, or other parties.

- No
|Ii Yes. Fill in the details below.
Name Date issued

Address
[Number. Streot, City, Stata end ZlP Code)

mn Below

| have read the answers on this Statement of Financl'aiAffairs and any attachments, and | declare under penalty of perjury that the answers are
true and correct | understand that making a false statement concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $260,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

lsi Michaei irizarry

Michaei irizarry Signature or Debtor 2
Signature of Debtor 1

 

pete January 23, 2019 mate

 

Did you attach additional pages to Your Statement of Financiai Affairs for individuals Filing for Bankruptcy(Officia| Form 10?)?
- No

ij Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

. Ncl

ij Yes. Name of Person .Attach the Bankruptcy Petl`il`on Pre,oarer's Noll`ce, Decieratlbn, and Sigrlaitlre (Ofi`lcia| Form 119),

Officiai Form 107 Statement ofF|nancial Affairs for individuals Filing for Bankruptcy page 6

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Case 6:19-bi<-00531-KS.] DOC 1-1 Filed 01/28/19 Page 38 of 50

Fill in this information to identify your case:
Debtor 1 Michaei irizarry
First Name Middle Name Lasi Name

Debtor 2
{Spouse i'i_ nlrng) Flrsi Name Middie Name i.ast Name

 

United Siaie$ Bankruptcy Court for the: NliDDLE DiSTRlCT OF FLOR[DA, ORLANDO D|V|S|ON

 

Case number
tirl<nowm |:| Check ifthis is an

amended filing

 

 

 

Officiai Form 108
Statement of intention for individuals Filing Under Chapter 7 one

if you are an individual filing under chapter 7, you must fill out this form if:
- creditors have claims secured by your property, or

- you have leased personal property and the lease has not expired.

\"ou must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
the form

lf two married people are filing together in a joint case, both are equally responsibie for supplying correct information. Both debtors must sign
and date the form.

Be as complete and accurate as possiblel if more space is needed, attach a separate sheet to this fonn. On the top of any additional pages,
write your name and case number (if known).

List Your Creditors Who Have Secured Ciaims

i. For any creditors that you listed in Part1 of Schedu|e D: Creditors Who Have Ciaims Secured by Property (Officiai Form106D}. fill in the
information below. ___ _ _ _
identify.ti_te creditor and the property that is_ collateral _ _ What do__`you intend to-do with the property that __ Did you__c.lalrrl_.t_he:`pi'.operty'
t ' ` ' "f ' - - . secures a debt?" ' ' ' "

CrediiOr'S Seiect Portfoiio Servicing, inc l Surrenderthe property l NO
name: l:l Retain the property and redeem it.

_ _ ij Retain the property and enter into a Reaffirmarlon m Y"-‘S
Descrlml@n Of 441 Acacia Tree Way, Agreemenr.
property KiSSii‘lim€e, FL 34758-3633 n Retain the property and [expiain]:

securing debl:

 

- "faeexe'rnpt:on-.Sci`le`ddie C?` .-

 

L|st Your Unexpired Personai Property Leases

For any unexpired personal property lease that you listed in Schedu|e G: Executory Contracts and Unexpired Leases (Officiai Form1EiEG), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365{p)(2).

D¢S`¢=rib¢yeurunexpired personalprolierlyleasés' - ` " ' ~ -' ' _- -E -5-“ ' - wlll'theleeee beiassu`med?_j-"'-
Lessor'$ name: [:`| ND

Description of leased

Property: l;.l Yes

Lessor's name: |:] No

Descrlption of leased

Propeny: l:l Yes

Lessor's name: [i No

Officiai Form 108 Statement of lntention for individuals Filing Under Chapter 7 page 1

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CaS€ 6219-bk-00531-KS.]

Debtor1 irizarry, Michaei

Description of leased
Property:

Lessor's name:
Description of leased
Proper‘ty:

Lessor's name:
Description of leased
Property:

Lessor's name:
Description of leased
Property:

Lessoi‘s name:
Description of leased
Property:

mn B€l°w

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Case numberirrknown)

l:i Yes
l:l No
|:l Yes
|:l Ncl
l:l Yes
|:l No
|:l \’es

i:lNo

i.:l Yes

 

Under penalty of perjury, | declare that l have indicated my intention about any property of my estate that secures a debt and any personal

property that is subject to an unexpired lease.

)( lsi Michaei irizarry

X

 

 

Michaei irizarry
Signature of Debtor 1

Dale Jar\uary 28, 2019

Ofnciai Form 108

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Signature of Debtor 2

Daie

 

Statement of intention for individuals Filing Under Chapter 7

page 2

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Fill iii ihi$ lliiOFm=-iiifm m identify l"DLlF C'-'“'S€i Check one box only as directed in this form and in Form

122£\¢'| Suppi

 

Debtor 'i Michaei irizarry

_E:c|;'_)_t;r _.'_ZH_____Q_ l 1_ There is no presumption of abuse

i:i 2. The ca!culation to determine ifa presumption of abuse
applies will be made underChapter 7 Means Tesi
Calculatl`on (Ofiicial Form 122A-2).

Middle District of Fiorida, Oriando
United Siates Bankruptcy Court for the: Divisign

 

(_Jase number i:i 3_ The Means Test does not apply now because of qualiHed
orknuwn) military service but it could apply later.

i:i Check if this is an amended nilng

Officiai Form 122A - 1
Chapter 7 Statement of Your Current Monthiy income 12115

Be as complete and accurate as possibie. lftwo married people are filing together, both are equally responsible for`being accurate. if more space is needed, attach
a separate sheet to this form. include the line number to which the additional information applias. On the top of any additional pages, write your name and case
number iii known]. if you believe that you are exempted from a presumption ofabuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement ofExemption from Prasum_ofion ofAbuse Under§ 707(b)(2) (Official Form 122A-1Suppl with this form.

 

Calcu|ate \'our Current Monthiy income

1. What ls your marital and filing status'il Check one only.
- Not married. Fill out Column A, lines 2-11.
i;i Married and your spouse is filing with you. Fill out both Columns A and B, lines 2~11.
i:i Married and your spouse is NOT filing with you. ‘i'ou and your spouse are:
i:i leing in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

ij Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
penalty of perjury that you and your spouse are iegaliy separated under nonbankruptcy law that applies or that you and your spouse are living
apart for reasons that do not include evading the lvieans Test requirements 11 U.S.C § 707(b](7)(i3).
Fill in the average monthly income that you received from ali sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
101{1DA}. For example. 'rf you are iiiing on September 15, the G~month period would be March1 through Augusi 31. ll'ihe amount of your monthly income varied during the
6 months, add the income for all 6 months and divide the iotai by 6. Fill in the result Do not include any income amount more than onoe. For example, if both spouses
own the same rental propeny, putihe income from that property in one column only. |f you have nothing to report for'any line, write 30 in the space

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

 

2. Your gross wages, salary, tipsl bonuses. overtime, and commissions (before all

 

 

 

 

 

 

 

 

 

payroll deductions}. 3'128'92 5
3. Alirnony and maintenance payments. Do not include payments from a spouse if

column s is sued in. °'°° 5
4. A|i amounts from any source which are regularly paid for household expenses

of you or your dependents, including child support include regular contributions

from an unmarried partner‘ members of your household your dependenis. parenis. and

roommates. include regular contributions from a spouse only if Column B is not liiied in.

Do nol include payments you listed on line 3 $ D'oo $
5. Net income from operating a business, profession, or farm

Debtor 1

Gross receipts (before all deductions) $ 0-00

Ordinary and necessary operating expenses '$ 0-00

Nei monthly income from a business. professionl or farm $ 0-00 copy here '> $ o-ou $
6. Net income from rental and other real property

Debtor 1

Gross receipts (before all deductions) $ _ o'u_o

Ordinary and necessary operating expenses '$ 0-00

Net monthly income from rental or other real property $ o-oo C°Py here '> 5 0-00 $
7. lnterest, dividends, and royalties 5 0-00 $

d
Officiai Form 122A'1 Chapter 'i' Statement of Your Current Monthly income page 1

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Debtor1 |rizarry'_Michae| Caso number(if known]
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8_ Unemp|oyment compensation $ D.OU $

 

Do not enter the amount if you contend that the amount received was a benefit under the
Social Security Aci_ lnstead. list it here:

FOF WU___ __ _____________$ 0-00
For your SPOL'SQ _ _ __________$
9. Pension or retirement income. Do not include any amount received that was a benth
under the Social Security Act_ 3 0‘00 5
10_ income from all other sources not listed above. Specify the source and amount Do
not include any benefits received under the Social Security Act or payments received as

a victim of a war crimel a crime against humanity, or international or domestic terrorism.
if necessary, list other sources on a separate page and put the total below.

 

 

 

 

 

 

 

 

 

 

 

 

 

$ 0.00
$ 0.00
Total amounts from separate pages, if any. + $ 0.00
11. Calcu|ate your total current monthly income. Add lines 2 through 10 for
each column. Then add the total for Column A to the total for Column B. 3 3’128'92 5 $ 31128‘92
Total current monthly
income
Determine Whether the Means Test Appiiee to You
12. Calcu|ate your current monthly income for the year. Foilow these steps;
12a Copy your total current monthly income from fine 1ii1miimm__ _ i i Copy line 11 here=> $ 3,128,92
Mu|tip|y by 12 (the number of months in a year) x 12
12b_ The result is your annual income for this part of the form 12b_ $ 37=547~04

 

 

13_ Calcu|ate the median family income that applies to you. Fo|tow these steps:

Fill in the state in which you live.
Fill in the number of people in your household i::

 

 

Fill in the median family income for your state and size of household_.__ i 13_ 3 48,000.00

To iind a list ofapplicable median income amounts, go online using the linkspecitiedlntheseparateinstructions for this
torm_ This list may also be available at the bankruptcy cleltroflice.

 

 

14_ How clothe lines compare?

14a - Line 12b is less than or equal to line 13. On the top of page 11 check box ti',hors is no presumption ofabuse.
Go to Part 3.

14b. i:i Line 12b is more than line 13_ On the top of page 1, check box 2l,'he presumpan of abuse is determined by Form 122A-2.
Go to Part 3 and nil out Form 122/-\»2.

 

 

Sign Below
By signing here. l declare under penalty of perjury that the information on this statement and in any attachments is true and correct

X lsi Michaei irizarry

Michaei irizarry
Signature of Debtor 1

D€li€ January 28, 2019
MMrDD iYYYY

lf you checked line 14a, do NOT flll outer file Form 122A~2.
if you checked line 14b, tiii out Form 122A-2 and Hle it with this form.

 

 

 

Officiai Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 2
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United States Bankruptcy Court
Middle District of Flurida, Orlaudo Division

lN RE: Case No.

lrizarry, Michael Chapter 7
Debtar(s)

VERIFICATION OF CREDITOR MATRIX

The above named debtor(s) hereby Verit`y(ies) that the attached matrix listing creditors is true to the best ofmy(c)ur) knowledge

 

Date: Januagg 28, 2019 Signature: /s/ M:'::hae.l Ir¢'zarn/
Michael |rizarry Debtor

 

Date: Signature:

 

Joint Debtor, ifany

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ASSOCiatiOn Of Poinciana Villages, Inc.
C/O Larsen & ASSOC., P.L.

300 S Orange Ave Ste 1575

Orlando, FL 32801-3348

Awa COlleCtionS
PO BOX 6605
Orange, CA 92863-6605

Capital One

Attn: General Correspondence/Bankruptcy
PO BOX 30285

Salt Lake City, UT 84130-0285

Credit Collection Serv
725 Canton St
NOIWOOd, MA 02062-2679

Credit One Bank

ATTN: Bankruptcy

PO BOX 98873

Las Vegas, NV 89193-8873

FCI Lender Services, Inc.
PO Box 27370
Anaheim, CA 92809~0112

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First Premier Bank

Attn: Bankruptcy

PO BOX 5524

Sioux Falls, SD 57117-5524

First Premier Bank
3820 N Louise Ave
Sioux Falls, SD 57107-0145

ch Collection Center
454 MOSS Trl
Goodlettsville, TN 37072-2029

1 C Systems, lnc.
PO Box 64378
Saint Paul, MN 55164-0378

Select Portfolio Servicinq, Inc
Attn: Bankruptcy

PO Box 65250

Salt Lake City, UT 84165-0250

Select Portfoli@ Svcin
10401 Deerwood Park Blvd
Jacksonville, FL 32256-5007

The Law Office of Paul A. Krasker, P.A.
1615 Forum Pl Fl 5
West Palm B€ach, FL 33401-2320

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3201 a (Form 2013){12/09)

United States Bankruptcy Court
Middle District of Florida, Orlando Division

IN RE; Case No. NFH_M_WW

|riza rrv, Michael …, …wi Chapter 7
Debtor(s)

CERT[FICATION OF NOTlCE TO CONSUMER DEBTOR(S]
UNDER § 342(h) OF THE BANKRUPTCY CODE

Certificate of [Non-Attorney] Bankruptcy Petition Preparer

l_, the [non-attomey] bankruptcy petition preparer signing the debtor"s petition, hereby certify that l delivered to the debtor the attached
notice, as required by § 342(b] ofthe Bankruptcy Code.

 

Printed Name and title, if any, oi`Bankruptcy Petition Prcparer Social Security number (Il`the bankruptcy
Address: petition preparer is not an individuai, state
the Social Security number of the officer,
principal, responsible person, or partner of
the bankruptcy petition prcparer.)
(Required by ll U.S.C. § l|U.)

 

 

X
Signature ofBankruptcy Petition Preparer of"oiiicer, principal, responsible person, or
partner Whosc Social Security number is provided above

 

Certii“lcate of the Debtor

l (We), the debtor(s), ai`iirm that l (we) have received and read the attached notice, as required by § 342(b) oi`the Bankruptcy Code.

 

 

 

 

|[izarry, Michaei x /s/ Michaei trizarry 1128/2019
Printed Name(s) of Debtor(s) Signature of Debtor Date
Case No. (if known) X

Sigrtature orleth Debtor {'ifany) Date

 

Instructions: Attach a copy ot`Form B 201/\, Notice to Consumer Debtor(s) Under § 342(b) ot` the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 1 l U.S.C. § 342(b) only if the certification has

NOT been made on the Voluntary Petition, Of`iicial Form B l . Exhibit B on page 2 ofl"ortn Bl contains a certification by the debtor’s
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
page 3 ot`Form Bl also include this certificationl

 

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Notice Required by 11 U.S.C. § 342(b) for
individuals Filing for Bankruptcy(Form 2010)

 

 

This notice is for you if:

You are an individual filing for hankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, family, or

household purpose."

 

 

 

The types of bankruptcy that are available to
individuals

lndividuals who meet the qualifications may file under
one of tour different chapters of Bankruptcy Code:

Chapter 7 - l_lquldation
Chapter 11 - Reorganization

Chapter 12 - Vo|untary repayment plan
for family farmers or
fishermen

Chapter 13 - Vo|untary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to tile for bankruptcy and the choice of
chapter.

Notice Requirad by 11 U.S.C. § 342(|2|} for lndividual$ Filing for Bankruptcy (Forrn 2010)

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Chapter 7: Liquidation

 

$245 filing fee

$75 administrative fee

+ $15 trustee surcharge

$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors The
primary purpose of filing under chapter 7 is to have
your debts discharged The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankru ptcy debts Exceptions
exist for particular debts, and liens on property may
still be enforced after discharge For example, a
creditor may have the right to foreclose a home
mortgage or repossess an automobile

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
dischargel

You should know that even if you file chapter 'r' and
you receive a discharge some debts are not
discharged under the |aw. Therefore, you may still
be responsible to pay:

most taxes,'

most student loans;

domestic support and property settlement
obligations

page 1

 

 

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most fines penaltiesl forfeitures and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle vessell or aircraft while intoxicated
from alcohol or drugs

lf your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you
have enough income to repay creditors a certain
amount You must file Chapter 7 Statement of Your
Current Monthly income (Official Form 122A-1) if you
are an individual filing for bankruptcy under chapter 7.
This form will determine your current monthly income
and compare whether your income is more than the
median income that applies in your state

lf your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Caiculati'on (Official Form
122A-2)_

lf your income is above the median for your state, you
must tile a second form -the Chapter 7 Means Test
Calculation (lencial Form 122A-2). The calculations
on the form-- sometimes called the Means
Test--deduct from your income living expenses and
payments on certain debts to determine any amount
available to pay unsecured creditors |f

Notice Requ|red by 11 U.S.C. § 342(|:| for individuals Filing for Bankruptcy (Form 2010]

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your income is more than the median income for your
state of residence and family sizel depending on the
results of the Means Test, the LJ.S. trustee bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. lf a
motion is tiled, the court will decide if your case should
be dismissed To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code

lf you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property Exemptions may
enable you to keep your home, a car, clothing. and
household items or to receive some of the proceeds if
the property is sold,

Exempticns are not automatic To exempt property,
you must list it on Schedm‘e C.' The Property You Ci'ar'm
as Exerript (foicial Form 1060). |f you do not list the
propeity, the trustee may sell it and pay all of the
proceeds to your creditors

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $550 administrative fee
$1,717 tota|fee

 

Chapter 11 is often used for reorganizing a businessl
but is also available to individuals The provisions of
chapter 11 are too complicated to summarize brietiy.

Pas€ 2

 

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Read These lmortant Warnin s

 

Because bankruptcy can have serious long-term financial and legal consequences including loss of
your property, you should hire an attorney and carefully consider all of your options before you fi|e.
On|y an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. |f you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your fami|y, your home, and your possessions

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technica|, and a
mistake or inaction may harm you. |f you file without an attorney, you are still responsible for knowing
and following all of the legal requirements

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Under chapter 13, you must H|e With the court a plan
Chapter 12: Repayment plan for family to repay your creditors all or part of the money that
farmers or fishermen you owe fhern, usually using your future earnings lf
the court approves your plan, the court will allow you
_ to repay your debts, as adjusted by the planl within 3
$200 filing fee years or 5 years, depending on your income and other

+ $75 administrative fee factors
$275 total fee

 

After you make all the payments under your planl

Similar to chapter 13, chapter 12 permits family farmers many Oi YOUF debts are dieeiiei”ged- The debts that
and fishermen to repay their debts over a period of time ere iiOi discharged end that lieu may Stiii be

using future earnings and'to discharge some debts that responsible iO Pey il'iCiUdei

are not paid.

domestic support obligations

 

most student loansl
Chapter13: Repayment plan for

 

individuals with regular Certairi taxes
income
debts for fraud or theft,
$235 ming fee debts for fraud _or defalcation while acting iri a
+ $75 administrative fee nducler)f CePeC'il’.

 

$310 total fee . . . . . .

most criminal fines and restitution obligations
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for _ ,
chapter 13 only if your debts are not more than certain °erta'n debis for acts that gauged death °r
dollar amounts set forth in 11 U.S.C. § 109. personai '"i"'ry' and

certain long-term secured debts

certain debts that are not listed in your
bankruptcy papers,

Notice Required by 11 U.S.C. § 342(|)} for individuals Filing for Bankruptcy (Form 2010| page 3

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Bankruptcy crimes have serious consequences

lf you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury-either orally or in writing_in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

A|l information you supply iri connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee. the Office cf the U.S. Attorney. and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on l/oluntary Petifion for individuals
Filing for Bankruptcy (Officia| Form 101). To ensure
that you receive information about your case.
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address

Notice Requlred by 11 U.S.C. § 342{b) for lndlvldua|s Filing for Bankruptcy [Forin 2010)

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A married couple may file a bankruptcy case
together-called a joint case if you file a joint case
and each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). lf you are filing a joint
casel both spouses must receive the brieHng. With
limited exceptions you must receive it within the 180
days before you tile your bankruptcy petition This
briefing is usually conducted by telephone or on the
lnternet.

|n addition, after Hling a bankruptcy case, you
generally must complete a financial management
instructional course before you can receive a
discharge lf you are filing a joint case, both spouses
must complete the course

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http:li'justice.qov/ustleoihapcpai'ccdeicc approved.html

ln Alabama and North Cai'olinal go to:
l‘ittp:ilwww_uscourtt~*,.i:iovl'FederalCourtsi'Bankr@tcylr
BankruptcyResourcesiApprovedCredit

AndDethounselors.aspx
lf you do not have access to a computer, the clerk of

the bankruptcy court may be able to help you obtain
the list.

page 4

 

 

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52030 (FOrm 2030} (12i15}
United States Bankruptcy Court
Middie District of Florida, Oriando Division

in re lrizarry, Michaei Case No.
Debtor{s) Chapter 7

DISCLOSURE OF COMPENSATI()N OF ATTORNEY FOR DEBTOR

I. Pursuant to il U .S.C. § 329(a) and Fed. Bankr. P. ZUIE(b}, l certify that l am the attorney t`or the above named dcbtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy_. or agreed to bc paid to me, for services rendered or to
be rendered on behalf oi" the debtor(s) in contemplation ot`or in connection with the bankruptcy case is as follows:

 

For legal services, l have agreed to accept rrrrrrrrrrrrrrrrrrrrrrrrr _ $ _______M
Prior to the filing ofthis Statement l have rcceivcd_________ __ _ $ _____M

331an Due.. 5 ___.___@l

2. 'i`he Source ot` the compensation paid to me was:

l Debtor l:l Other (specif`y).'
3. The source oi`compcnsation to be paid to me is:

l Debtor l:l other rspeciry);

4. - l have not agreed to share thc above-disclosed compensation with any other person unless they are members and associates ot` my law
firm.

l:i i have agreed to share the above-disclosed compensation with a person or persons who are not members or associates oi` my law tirm. A
copy ofthc agreemenf, together with a list of thc names of the people sharing in the compensation is attached

5. in return for the above-disclosed t`ee, l have agreed to render legal service for all aspects ofthc bankruptcy casc, including:
a. Anaiysis ot`thc dcbtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
b. Preparation and filing of any petition, schedules Statement of affairs and plan which may be rcquired;
c
cl

. chrcscntation of the debtor at the meeting of creditors and confirmation hcaring, and any adjourned hearings thereot`;
. [Other provisions as needcd]

6. By agreement with the debtor(s), the above-disclosed fcc does not include the following service:

 

CERTIF[CATION

t certify that the foregoing is a complete statement of any agreement or arrangement for payment to inc for representation of the dchtor(s) in
this bankruptcy proceeding

 

 

January 28, 2019 ` lsi F|avio A|varez
Duie Flavio Alvarez
S.i'g:na!irre of/ifforney

Law Office of Flavio E. Alvarez

911 N Main St Ste 8

Kissim mee, FL 34744-4520

(407) 870-0015 Fax: (407) 931-0461
alvarezlawa@gmail.com

Name of!owjirm

 

 

 

 

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